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STATE OF NORTH CAROLINA fy eo THE GENERAL COURT OF JUSTICE

 

WAKE COUNTY SUPERIOR COURT DIVISION
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DUKE UNIVERSITY WAKE CO.ACS.C.

Plaintiff, BY cafes COMPLAINT

v. JURY TRIAL DEMANDED
ENDURANCE RISK SOLUTIONS
ASSURANCE COMPANY

Defendant.

 

 

Plaintiff Duke University (“Duke” or the “University”) files this Complaint against

Defendant Endurance Risk Solutions Assurance Company (“Endurance”) and alleges as follows:
NATURE OF THE ACTION

1. This dispute arises out of Endurance’s reversal of position and refusal to provide
coverage owed Duke for insured losses in connection with a claim comprised of two related
antitrust class action lawsuits filed against the University. Endurance’s failure to honor its
coverage obligations, after initially yet falsely assuring Duke that it would cover relevant losses,
has injured Duke. In this lawsuit, Duke seeks declaratory relief, compensatory damages,
punitive damages, and statutory relief arising from Endurance’s conduct.

THE PARTIES

2. Plaintiff Duke i a North Carolina not-for-profit corporation with its principal
place of business in Durham, North Carolina.

3. Defendant Endurance is a Delaware corporation with its principal place of

business in Purchase, New York.

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JURISDICTION AND VENUE

4. This Court has jurisdiction over the claims asserted in this Complaint pursuant to
N.C.G.S. §§ 7A-240 and 7A-243, as the amount in controversy exceeds $25,000.

5. Certain claims asserted in this Complaint arise under the Declaratory Judgment
Act, N.C.G.S. §§ 1-253 and 1-254, et seq. This Court may declare the rights and other legal
relations of the parties under the Declaratory Judgment Act as this is a case of actual and
justiciable controversy within the Court’s jurisdiction.

6. This Court has personal jurisdiction over Endurance under North Carolina’s long-
arm statute, N.C.G.S. § 1-75.4, and the Due Process Clause of the Fourteenth Amendment of the
U.S. Constitution. Endurance is licensed as an insurer to transact business in North Carolina and
has purposefully availed itself of the privilege of transacting business in this state with respect to
the matters alleged in this Complaint. The relevant liability insurance contracts in this dispute
were delivered in North Carolina, were sold to a policyholder incorporated and headquartered in
this state, and include North Carolina endorsements. Additionally, the instant coverage dispute
arises out of Endurance’s refusal to cover Duke’s losses relating to lawsuits that were filed and
were, or are being, litigated in North Carolina, and that, in turn, center on alleged conduct that
occurred and purportedly caused injury in this state in that they involve faculty members at Duke
and the University of North Carolina (“UNC”).

7. Venue is proper in this Court pursuant to N.C.G.S. § 1-79(a)(3) because
Endurance is a domesticated foreign corporation that resides in Wake County for purposes of
venue. Although Endurance has no registered or principal office or place of business in North
Carolina, Endurance regularly engages in carrying on business in Wake County, including
without limitation by registering as an insurer with the North Carolina Department of Insurance

in Raleigh, North Carolina. On information and belief, Endurance has also engaged in business

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-in Wake County through advertising in the county, selling insurance policies to residents of the
county, covering persons, entities, risks, and losses that are located in or arise in the county,
and/or litigating coverage disputes in the courts of this county.

FACTUAL ALLEGATIONS

A. Duke’s 2015 Liability Insurance Coverage

8. To guard against serious financial loss, Duke purchased a top-shelf management
liability insurance program, with five coverage layers together providing $80 million in limits,
for thé policy period January 1, 2015 to January 1, 2016. The policies in this program provide
“cJaims-made” coverage for management liability risks and are designed to provide both defense
and indemnity coverage for claims first made or deemed made against Duke during the policy
period.

9. Westchester Fire Insurance Company sold Duke the primary-layer policy in the
2015 program (the “Westchester Fire Policy”). Said policy provides Duke with an applicable
limit of $10 million, subject to a $1 million retention bore by Duke. A true and correct copy of |
the Westchester Fire Policy is attached hereto as Exhibit 1.

10. Three additional insurers (the “Non-Party Excess Insurers”) sold Duke excess
policies that collectively provide $45 million in coverage above Westchester Fire’s layer.

11. Endurance sold Duke its top-layer excess policy (the “Endurance Policy”), which -
covers a further and final $25 million above the $55 million in underlying insurance layers. A
true and correct copy of the Endurance Policy is attached hereto as Exhibit 2.

12. The four excess policies all “follow form” to the Westchester Fire Policy,
meaning that they afford coverage on the same terms as that policy unless and to the extent the
subject excess policy specifically provides otherwise.

13. The Westchester Fire Policy includes coverage sections for both “Employment

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Practices Liability” and “Insured Persons and Organization,” which are commonly described as
the EPL and D&O sections, respectively. Although this lawsuit is brought under the policy as a
whole, the claims here are governed by the D&O section, not the EPL section. Duke has at all
relevant times sought recovery for its subject antitrust-related losses under the D&O section,
which is the only section that (a) defines “Anti-Trust Claims” and (b) imposes a co-payment
obligation on Duke that Westchester Fire, Endurance, and the Non-Party Excess Insurers have
consistently invoked.

14. | The Westchester Fire Policy’s D&O section insures “Loss” that Duke becomes
legally obligated to pay by reason of a “Claim” for a “Wrongful Act” that is asserted against
Duke and reported to its insurers during the 2015 policy period.

15. “Loss” is defined in the Westchester Fire Policy to include “damages, judgments,
settlements, pre-judgment or post-judgment interest awarded by a court,” as well as “Costs,
Charges and Expenses” incurred by Duke.

16. “Costs, Charges and Expenses” are defined in the Westchester Fire Policy to
include “reasonable and necessary legal costs, charges, fees and expenses.” That policy also
provides that “the Insurer shall advance on a quarterly basis” all covered “Costs, Charges and
Expenses.” Accordingly, the carriers in Duke’s 2015 insurance program, including Endurance,
owe Duke a duty to advance defense costs.

17. “Claim” is defined in the Westchester Fire Policy to include “a written demand”
against Duke “for monetary damages,” as well as “a civil proceeding” against Duke “seeking

_monetary damages.” ,
18. “Wrongful Act” is defined in the Westchester Fire Policy to include “any actual

or alleged error, omission, misleading statement, misstatement, neglect, [or] breach of duty” by

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Duke.

19. | The Westchester Fire Policy’s D&O section expressly batches into a single Claim
and into a single policy period subsequent lawsuits arising out of the same or related Wrongful
Acts as an initial 2015 lawsuit, regardless of whether such subsequent lawsuits were filed in
2015 or ina later year: “All Claims arising out of the same Wrongful Act and all Interrelated
Wrongful Acts shall be deemed to constitute a single Claim and shall be deemed to have been
made at . . . the time at which the earliest Claim involving the same Wrongful Act or Interrelated
Wrongful Act is first made.” |

20. By endorsement to the Westchester Fire Policy’s D&O section, “Anti-Trust
Claim” is expressly defined and covered, with a requirement that “the Insureds shall bear
uninsured and at their own risk 20% of all Loss incurred in a Claim alleging or arising out of an .
Anti-Trust Claim.” At all relevant times in connection with this dispute, Duke’s insurers |
(including Endurance) have insisted that Duke satisfy the co-payment obligation and Duke, in
turn, has fulfilled this 20% co-payment requirement.

21. | The Endurance Policy includes a “Claims Made Coverage Endorsement.”

22.  Endurance’s claims made endorsement begins with a follow-form clause (the
“Claims Made Follow-Form Clause”) that provides:

It is agreed that the insurance afforded by this policy is subject to the same terms,

conditions, definitions, exclusions and warranties as contained in the [Westchester Fire
Policy]. ‘

The foregoing shall not apply to:
1. The Retroactive Date of the underlying claims made policy(ies).
2. The Extended Reporting Period of the underlying claims made policy(ies).

23. All premiums due under Duke’s 2015 insurance program have been paid, and all

conditions to coverage have been performed, have occurred, or have otherwise been satisfied,

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excused, or waived.

B. The Seaman Lawsuit

24. On June 9, 2015, Dr. Danielle Seaman, by and through counsel, filed an antitrust
class action lawsuit against Duke in North Carolina federal court. See Seaman v. Duke
University, et al., No. 1:15-cv-462 (M.D.N.C.). Dr. Seaman, then an Assistant Professor of
Radiology at Duke, sued on her own behalf and on behalf of Duke and UNC medical faculty and
other skilled medical employees.

25. The Seaman lawsuit alleged that Duke and‘ UNC had been conspiring to suppress
wages for the class by declining to compete for each other’s medical faculty. The lawsuit also
alleged that Dr. Seaman was deprived of an opportunity in 2015 to obtain employment at the
UNC School of Medicine because of this conspiracy. The Seaman complaint sought treble
damages, attorneys’ fees, and various other remedies.

26. The Seaman plaintiffs were represented by experienced class counsel, with Dean
Harvey, Esq. and other lawyers from the law firm Lieff Cabraser Heiman & Bernstein, LLP
acting as lead counsel, and Robert M. Elliott and the North Carolina law firm Elliott Morgan
Parsonage, PLLC serving as co-counsel.

27. The Seaman case was litigated thoroughly over a four-year period. The case
included motions to dismiss, an interlocutory appeal to the U.S. Court of Appeals for the Fourth
Circuit, class certification proceedings, extensive fact discovery, expert reports and discovery,
summary judgment motions, intervention by the U.S. Department of J ustice, and lengthy
settlement approval proceedings.

28. During the litigation, experts for the Seaman class estimated damages ranging
from $125 million to $315 million, not accounting for fee shifting, treble damages, and other

relief.

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29. In March 2019, the parties, with the consent of Duke’s insurers, agreed in
principle to settle Seaman for $54.5 million, subject to documentation and court approval.

30. On or around September 25, 2019, after months of settlement documentation,
approval briefing, notice to the class members, and related proceedings, the court in Seaman
approved the settlement agreement. That same day, the court awarded Seaman class counsel
$18, 166,666.67 in attorneys’ fees and $3,320,066.35 for reimbursement of expenses. This sum
amounted to nearly 40% of, and was paid out of, the $54.5 million Seaman settlement.

31. Duke incurred more than $15.4 million in defense costs in connection with the
litigation and settlement of Seaman. ‘The attorneys’ fees comprising the Seaman defense costs
reflected discounted billing rates by the law firms defending Duke, and were the subject of a
rigorous review and audit process by Duke.

C. Duke’s Insurers, Including Endurance, Participate in Settling Seaman

32. Duke reported the Seaman claim to its 2015 management liability insurers,
namely Westchester Fire, the Non-Party Excess Insurers, and Endurance.

33. Duke provided its 2015 insurers (including Endurance) extensive updates and
briefings regarding Seaman, and kept the insurers closely involved in the defense and resolution
~ of the lawsuit.

34, | Prior to making settlement offers or proposals in Seaman, Duke sought input and
consent from all of its carriers, including Endurance. Subject to ongoing confidentiality
undertakings, Duke also provided multiple telephonic and in-person defense counsel briefings to
all its carriers.

35. In March 2019, Endurance claims executive Robert Darish consented to the
settlement of Seaman for $54.5 million. Mr. Darish also committed to Duke’s Vice President
and General Counsel and other Duke representatives that Endurance would pay any Seaman

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defense costs that reached into Endurance’s layer.

36. After the Seaman parties settled for $54.5 million, the carriers underlying
Endurance (i.e., Westchester Fire and the Non-Party Excess Insurers) all paid out their limits in
full — without any discount — toward defense costs and/or the settlement.

37. Because of the need to document and secure court approval of the settlement, the
total amounts of Seaman defense costs were continuing and thus uncertain in the months
following the March 2019 agreement on the Seaman settlement amount. Accordingly, Duke
kept Endurance updated on the status of underlying exhaustion and on whether Seaman defense
costs would ultimately exhaust the underlying limits and reach into Endurance’s layer. During
this entire period, Endurance never raised a coverage objection or defense, nor did Endurance
ever suggest that it had a right or basis to second-guess the coverage decisions or payments of
the underlying insurers.

38. After the Seaman settlement was agreed to, Endurance re-confirmed, in writing,
the commitment it had made to Duke to fund any residual Seaman defense costs that exceeded
the underlying insurance layer. Endurance did so through, among other things, a July 2019 email
exchange wherein Mr. Darish confirmed to Duke Endurance’s agreement to pay Seaman-related
expenses that reached into its layer.

39. On February 18, 2020, Duke advised Endurance that the Non-Party Excess
Insurer immediately underlying Endurance’s policy would be paying out the remaining balance
of its policy limits, leaving a likely five-figure amount of unpaid Seaman defense costs to be paid
in Endurance’s layer.

40. Endurance has subsequently failed to provide any reimbursement of Seaman

defense costs.

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D. The Binotti Lawsuit

41. Following the Seaman settlement, Duke was met with another antitrust lawsuit
that was closely related to Seaman but that involved a broader putative class.

42. On January 3, 2020, lead counsel for the Seaman class emailed Duke’s outside
counsel a draft antitrust class action complaint, which identified Professor Lucia Binotti of UNC
as the proposed named plaintiff. The draft Binotti complaint arose out of the same alleged
wrongful act and/or set of interrelated wrongful acts that the 2015 Seaman lawsuit arose out of.

43. Duke provided Endurance with a copy of the draft Binotti complaint on January 9,
2020.

44. On May 27, 2020, Professor Binotti — by and through the same class counsel as
in Seaman — filed suit in North Carolina. See Binotti v. Duke University, No. 1:20-cv-470 |
(M.D.N.C.). The next day, Duke provided Endurance’s counsel with a copy of the Binotti
complaint.

45. The Binotti complaint described the same course of alleged misconduct at issue in
Seaman — namely, a no-poach understanding between Duke and UNC. Whereas Seaman
focused on medical faculty, Binotti centered on the alleged anticompetitive impact on all other
faculty at Duke and UNC.

46. The Binotti complaint drew heavily on evidence that the 2015-based Seaman
litigation uncovered and cited the Seaman case and discovery.

47. The Binotti complaint includes the following proposed class, generally
encompassing all faculty at Duke and UNC:

_ Ali natural persons employed by Duke University or the University of North Carolina,
Chapel Hill from the start of the No-Poach Understanding (to be determined from further
discovery) through February 5, 2018, as a faculty member. Excluded from the Class are:

members of the boards of directors and boards of trustees, boards of governors, and senior
administrators of Duke and UNC; and any and all judges and justices, and chambers’ staff,

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assigned to hear or adjudicate any aspect of this litigation.

48. Duke has incurred and expects to continue to incur attorneys’ fees and other
defense-related costs in defending against the Binotti case.

49. Endurance has not provided Duke any financial support in defending against
Binotti.

E. Endurance Improperly Denies Coverage for Seaman and Binotti

50. On January 9, 2020, Duke provided the draft Binotti complaint to Endurance, the |
sole insurer in Duke’s 2015 insurance tower whose limits are not already fully exhausted by
Duke’s Seaman-related losses. Since then, Duke has corresponded at length with Endurance and
its counsel (original and replacement), provided extensive disclosures and updates, and
demanded that Endurance confirm coverage for the costs of defending Binoiti.

51. Additionally and under confidentiality restrictions, Duke has provided Endurance
copies of Seaman defense cost invoices, and has sought coverage for any such costs to the extent -
that they exceed Endurance’s $55 million attachment point and Duke’s $1 million retention.

52. However, and despite Endurance’s assurances to Duke in 2019 that it would cover
costs related to Seaman, Endurance now refuses to cover Duke’s losses relating to Seaman and
the related Binotti matter.

53. On March 3, 2020, nearly two months after receiving notice of Binotti,

Endurance, by and through coverage counsel at Teague Campbell, wrote to Duke communicating
a “full reservation of rights” as to Binotti and asserted various objections to coverage that
Endurance had never before raised in the related Seaman matter. Among other things,
Endurance questioned whether Duke had exhausted what Endurance incorrectly stated was $95
million in underlying coverage, and incorrectly referred Duke to the terms and exclusions of the

EPL section of the 2015 coverage program.

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54. On March 13, 2020, Duke, by and through counsel, responded by clarifying that
Endurance’s attachment point was $55 million, not $95 million. Additionally, Duke objected to
Endurance’s belated assertion of coverage defenses in Binotti that had never been raised in the
related Seaman matter, and also obj ected to Endurance’s reference to the EPL section when
Endurance and the 2015 insurance tower had treated Seaman as a D&O claim and benefitted
from an attendant 20% Duke co-payment obligation.

55. Over the next few weeks, Duke provided Endurance with updates regarding Binotti
and also hosted a detailed confidential telephonic Binotti defense briefing for Endurance.

56. On May 4, 2020, Endurance, by and through new coverage counsel at Locke |
Lord, sent Duke a list of seven information requests, much of which sought materials that
Endurance had previously been provided. The next day Duke replied by providing, in
confidence, detailed answers and several responsive documents and referred by date to
numerous other documents already in Endurance’s files — all of which were responsive to the
requests Endurance had made a day earlier. Between May 1 and 13, 2020 Duke provided
Endurance with copies of the Seaman defense invoices processed to date, plus certain Binotti

‘defense invoices.
. 57. In a letter dated May 15, 2020, Endurance refused to commit to funding for
Binotti and, for the first time, suggested that even Seaman may not be covered.

58. After further correspondence, Endurance, on May a1, 2020, wrote to Duke
advising that it “preliminarily think[s] that no coverage for either Seaman or Binotti will be
available.” Endurance promised to “provide [its] final decision on coverage in the near future.”

59. Endurance has not since communicated to Duke any change in its initial position

that coverage is unavailable for Duke’s losses. However, Endurance has failed to provide a

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definitive coverage determination on the record, despite Duke’s continued demands for
coverage.

60. On June 1, 2020, Duke wrote to Endurance, pursuant to Section J of the General
Terms and Conditions of the underlying Westchester Fire Policy, to call for non-binding
mediation, which is a predicate to any litigation under Duke’s coverage program.

61. On September 14, 2020, Duke and Endurance participated in a mediation
regarding Endurance’s coverage obligations for Seaman and Binotti. The mediator concluded
the mediation on that day. On September 15, 2020, the mediator confirmed in writing that the
mediation process had concluded on September 14, 2020.

F. The Endurance Policy Covers Duke’s Seaman and Binotti Losses

62. The Endurance Policy covers Duke’s Seaman and Binotti losses, including any
costs to defend and resolve those lawsuits.

63. The Westchester Fire Policy, to which the Endurance Policy follows form, insures
against “the Loss of [Duke] which [Duke] becomes legally obligated to pay by reason of a Claim
first made against [Duke] during the [January 1, 2015 to January 1, 2016] Policy Period” for
“any Wrongful Act taking place prior to the end of the Policy Period.” Covered claims expressly
include “Anti-Trust Claim[s].”

64. | Seaman is a covered Claim. Duke’s legal defense costs and settlement
obligations in Seaman constitute “Loss” that Duke became legally obligated to pay by reason of
a “Claim,” namely the June 9, 2015 Seaman complaint, that was filed against Duke and timely
reported to its insurers during the 2015 policy period. Further, the Seaman complaint is an
“Anti-Trust Claim” under the coverage program’s D&O section, as it alleges that Duke
participated in restraints of trade, including an alleged no-poach understanding with UNC that

purportedly reduced faculty wages.
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65.  Duke’s Seaman-related losses and the underlying insurers’ payments of $55
million exhausted the $55 million in coverage underlying the Endurance Policy. Specifically,
Duke was legally obligated to pay $54.5 million in connection with the Seaman settlement, and
was also obligated to pay more than $15.4 million in connection with the defense of Seaman.
Duke’s Seaman-related losses of more than $69.9 million, after accounting for Duke’s $1 million
retention and 20% antitrust co-payment obligation, exceeded $55 million.

66.  1In2018 and 2019, Endurance actively participated in the Seaman litigation and
resolution process, consented to the $54.5 million settlement in Seaman, raised no objections or
defenses to coverage for Seaman, and affirmatively represented that Endurance would pay for
Seaman-telated losses that exceeded Endurance’s $55 million attachment point.

67. Duke reasonably relied on Endurance’s representations, including its
unconditional participation in the Seaman settlement process and its assurances of coverage, to
resolve Seaman in the manner and on the terms in which it did. Duke proceeded to settle
Seaman at $54.5 million, with the justified expectation that Endurance would cover Seaman-
related defense costs that reached into Endurance’s layer.

| 68. | Endurance’s course of dealing and/or performance in relation to Seaman further
confirm that Seaman is fully covered under the terms of the Endurance Policy, and in the
alternative, precludes or estops Endurance from belatedly asserting otherwise.

69. Under Duke’s 2015 insurance program, the Binotti lawsuit is part of the same
“Claim” as Seaman and, like Seaman, is also covered in full.

70. The Westchester Fire Policy’s batching clause (the “Batching Clause”) states:
“All Claims arising out of the same Wrongful Act and all Interrelated Wrongful Acts shall be -

deemed to constitute a single Claim and shall be deemed to have been made at. . . the time at

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which the earliest Claim involving the same Wrongful Act or interrelated Wrongful Act is first
made.” The Endurance Policy follows form and incorporates this clause.

71. — Binotti arises out of alleged wrongful acts that are the same as or related to the
alleged wrongful acts out of which Seaman arises, including without limitation a no-poach
understanding between Duke and UNC that purportedly reduced faculty wages. By operation of
the Batching Clause, the Endurance Policy deems Bino/ti to constitute a single Claim with
Seaman, and deems Binotti to have been made on June 9, 2015 —- i.e., the date Seaman was first
made.

72. | Endurance is contractually obligated to cover (i) Duke’s Seaman and Binotti-
related defense costs not reimbursed by the underlying insurers or subject to Duke’s self-insured
retention, and (ii) any potential liability Duke may face as a result of the Binotti litigation. The
only applicable deduction for such losses is Duke’s 20% antitrust co-payment requirement.

CAUSES OF ACTION

COUNT I -
DECLARATORY RELIEF

73. Duke repeats and incorporates herein by reference each of the allegations
contained in the preceding paragraphs of this Complaint, and further alleges as follows.

74. Duke seeks a declaration of the parties’ rights and duties under the Endurance
Policy in accordance with the Declaratory Judgment Act, N.C.G.S. §§ 1-253 and 1-254, et seq.

75, Endurance agreed in its insurance contract to provide coverage for losses that
Duke becomes legally obligated to pay by reason of a claim for relief first made or deemed to
have been made against Duke during the 2015 policy period, including without limitation
defense costs and any settlement amounts, damages, or adverse judgments.

76. Duke has and will continue to suffer actual losses in connection with the defense

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of the Seaman lawsuit and the defense of the Binotti lawsuit, both of which comprise a claim for
relief first made or deemed to have been made against Duke during the 2015 policy period.

77. Duke could also potentially suffer further losses if Binofti were to be resolved by
settlement and/or adverse judgment.

78.  Endurance’s coverage obligation attaches once the coverage layers that underlie
the Endurance Policy pay out their $55 million in limits. The coverage layers underlying
Endurance have exhausted their collective $55 million in coverage obligations to Duke.

79. Subject only to Duke’s 20% co-payment, Endurance is contractually obligated
under the Endurance Policy to indemnify Duke for the full amount of Duke’s losses in excess of
$55 million and Duke’s underlying $1 million retention. The Endurance Policy’s $25 million
limits do not restrict Duke’s recovery, because Endurance has failed to act in good faith under
that policy.

80. Despite the foregoing obligation, Endurance has entirely withheld payment for
Duke’s defense costs in Seaman and Binotti that exceed the underlying limits. Endurance has
also refused to confirm that it would provide coverage in that event that there were to be a
settlement or adverse judgment in Binoiti.

81. Anactual and justiciable controversy therefore exists between Duke and
Endurance concerning Endurance’s contractual duty to fund the costs of defending the Seaman
and Binotti lawsuits.

82.  Anactual and justiciable controversy also exists between Duke and Endurance
concerning Endurance’s contractual duty to indemnify Duke for liability costs that it may
potentially incur in Binotti.

83. The foregoing controversies are of sufficient immediacy to justify the issuance of

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declaratory relief.

84. Duke accordingly seeks declarations from the Court that (i) the Endurance Policy
covers Duke’s defense costs in relation to Seaman not funded by the underlying insurers and all
of Duke’s defense costs in Binotti, and (ii) the Endurance Policy covers any liabilities and/or
costs Duke may potentially incur in resolving Binotti. Duke also seeks a declaration that
Endurance is obligated to provide coverage for the full amount of each set of costs — subject
only to Duke’s 20% co-payment — in excess of Endurance’s $55 million attachment point and
an underlying $1 million retention. Duke further seeks any other appropriate declaration so as to
settle the legal relationship, rights, and obligations between Duke and Endurance.

COUNT II -
BREACH OF CONTRACT

85. | Duke repeats and incorporates herein by reference each of the allegations
contained in the preceding paragraphs of this Complaint, and further alleges as follows.

86. | The Endurance Policy is a valid and enforceable contract between Duke and
Endurance.

87. Duke has paid, and Endurance has received, all premiums due under the
Endurance Policy. Further, Duke has complied with or has been excused from complying with,
or Endurance has waived or is estopped or otherwise precluded from raising, all other terms,
provisions, and conditions of the Endurance Policy.

88. Endurance agreed in its insurance contract to provide coverage for losses that
Duke becomes legally obligated to pay by reason of a claim for relief first made or deemed to
have been made against Duke during the 2015 policy period, including without limitation
defense costs and any damages, settlement amounts, and adverse judgments.

89. Duke has and will continue to suffer actual losses in connection with the defense

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of the Seaman lawsuit and the defense of the Binotti lawsuit, both of which comprise a claim for
relief first made or deemed to have been made against Duke during the 2015 policy period.

90.  Endurance’s coverage obligation attaches once the coverage layers that underlie
the Endurance Policy pay out their $55 million in limits. The coverage layers underlying
Endurance have exhausted their collective $55 million in coverage obligations to Duke.

91. Subject only to Duke’s 20% co-payment, Endurance is contractually obligated
under the Endurance Policy to fund the full amount of Duke’s losses in excess of $55 million,
including without limitation defense costs that Duke has incurred or will be required to incur in
defense of Seaman and Binotti. The Endurance Policy’s $25 million limits do not restrict Duke’s
recovery, because Endurance has failed to act in good faith under that policy.

92. Despite the foregoing obligation, Endurance has refused to advance or pay for any
of Duke’s Seaman or Binotti defense costs — in breach of the Endurance Policy and
Endurance’s defense obligations.

93. As adirect and proximate result of its breach of contract, Endurance has deprived
Duke of the benefits of its insurance coverage, which entitles Duke to money damages, including
interest according to law.

94. _Duke’s losses as a result of Endurance’s breach of contract are continuing, and
Duke reserves the right to seek the full and exact amount of its damages at the time of trial.

COUNT III -
BAD FAITH REFUSAL TO SETTLE COVERAGE CLAIM

95. Duke repeats and incorporates herein by reference each of the allegations
contained in the preceding paragraphs of this Complaint, and further alleges as follows.
96. | Endurance has an obligation to deal fairly, diligently, and in good faith with its

policyholders.
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97. Endurance refused to settle Duke’s claim for Seaman-related defense costs, even
after previously acknowledging the validity of that coverage claim. Endurance further refused to
settle Duke’s claim for Binotti-related defense costs, even after having received notice of the
validity of that coverage claim.

98. - As detailed above, Endurance evinced bad faith by pressing belated and
unjustified excuses to coverage based not on honest disagreement or innocent mistake, but on
evasion of Endurance’s coverage obligations.

99. Endurance has engaged and is continuing to engage in a pattern of aggravating or
outrageous conduct, reflecting malicious, wanton and/or reckless disregard for Duke’s rights as a
policyholder. Among other wrongful acts, Endurance:

(a) participated in the Seaman settlement process and made false assurances of defense

cost coverage in Seaman, and then reversed course on its Seaman defense cost
commitment;

(b) insisted on Duke absorbing 20% of its Seaman losses pursuant to the antitrust co-
payment provision of the D&O section — which Duke did, to its detriment — and then
reserved rights based in part on the purported applicability of the EPL section of the
coverage;

' (c) misrepresented the attachment point for its coverage layer as $95 million instead of
$55 million, even though Duke relied on Endurance’s assurances of coverage for costs
exceeding $55 million to resolve Seaman in the manner and on the terms on which it did;

(d) refused to reasonably evaluate the information before it and pay out on a well-
supported claim for defense cost coverage; and

(e) failed to definitively and on the record affirm or deny coverage for the Binotti matter
that was reported more than ten months ago.

100. Endurance’s acts of bad faith have injured Duke, including without limitation by
unreasonably depriying Duke of the coverage owed it under the Endurance Policy and forcing
Duke to bear in full its own defense costs in defending against Binotti. Duke is entitled to

recover from Endurance the full extent of its losses arising out of Endurance’s bad faith.

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101. Having failed to resolve Duke’s claim for defense cost coverage in good faith

| under the Endurance Policy, Endurance cannot now rely on its policy limits to restrict Duke’s
recovery. Duke is entitled to recover from Endurance for covered losses in excess of
Endurance’s $25 million coverage limits.

102. Asaresult of Endurance’s bad faith refusal to settle Duke’s claim for defense cost
coverage, Endurance is liable for punitive damages above and beyond Duke’s compensatory
damages. Pursuant to N.C.G.S. § 1D-25, Duke is eligible to recover in punitive damages up to
three times the amount of its compensatory damages.

103. Duke’s damages as a result of Endurance’s bad faith refusal to settle Duke’s
claims for defense cost coverage are continuing, and Duke reserves the right to seek the full and

exact amount of its damages at the time of trial.

COUNT IV -
UNFAIR AND DECEPTIVE TRADE PRACTICES

104. Duke repeats and incorporates herein by reference each of the allegations
contained in the preceding paragraphs of this Complaint, and further alleges as follows.

105, Pursuant to N.C.G.S. § 75-1.1, Endurance had a statutory duty to avoid unfair and
deceptive trade practices. |

106. Endurance has breached and is continuing to breach this statutory duty by
engaging in unfair claim settlement practices proscribed by N.C.G.S. § 58-63-15(11). Among
other wrongful acts, Endurance:

(a) misrepresented to Duke its intention to pay Seaman-related defense costs under the
coverages at issue, see N.C.G.S. § 58-63-15(11)(a);

(b) failed to attempt to, in good faith, effectuate the prompt, fair and equitable resolution
of Duke’s claims for Seaman and Binotti defense costs, even though Endurance’s liability
is reasonably clear, see N.C.G.S. § 58-63-15(11)@);

(c) misrepresented provisions of its insurance policy, including the attachment point for

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its coverage layer and the applicability of the EPL section in lieu of the D&O section, see
N.C.G.S8. § 58-63-15(1 1)(a);

(d) refused to reasonably evaluate the information before it and pay out on a well-
supported claim, see N.C.G.S. § 58-63-15(11)(@);_

(e) failed to definitively affirm or deny coverage for the Binotti matter that was reported
more than ten months ago, see N.C.G.S. § 58-63-15(11)(e); and

(f) failed to provide a reasonable and timely explanation for its refusal to grant coverage,
see N.C.G.S. § 58-63-1511) (n).

107. The foregoing acts arise out of the insurance relationship between Duke and
Endurance, and are thus acts in or affecting commerce.

108. Duke detrimentally relied upon misrepresentations made by Endurance.

109. Endurance’s wrongful acts, as set forth in this Complaint, proximately caused
injury to Duke, including without limitation by unreasonably depriving Duke of the coverage
owed it under the Endurance Policy and forcing Duke to bear in full its own defense costs in
defending against Binotti. Pursuant to N.C.G.S. § 75-16, Endurance is liable for three times the
amount of the losses proximately caused by its statutory violations.

110. Endurance willfully engaged in the foregoing acts and unwarrantedly refused to
fully resolve the matter underlying this civil lawsuit. Duke is therefore entitled, under N.C.G.S.
§ 75-16.1, to recover from Endurance an award of attorneys’ fees incurred and to be incurred in
prosecuting this lawsuit.

111. Duke’s damages as a result of Endurance’s breach of its statutory duty to avoid
unfair and deceptive trade practices are continuing, and Duke reserves the right to seek the full
and exact amount of its damages at the time of trial.

PRAYER FOR RELIEF
WHEREFORE, Duke prays for relief as follows:
1. On Count I, a judgment declaring that (i) the Endurance Policy covers Duke’s
20

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defense costs in relation to Seaman and Binotti, and (ii) the Endurance Policy covers any
liabilities and/or costs Duke may potentially incur in resolving Binotti. Duke also seeks a
declaration that Endurance is obligated to provide coverage for the full amount of each set of
costs — subject only to Duke’s 20% co-payment — in excess of Endurance’s $55 million |
attachment point and an underlying $1 million retention. Duke further seeks any other |
appropriate declaration so as to settle the legal relationship, rights, and obligations between Duke
and Endurance.

2. On each of Counts II through [V, a money judgment against Endurance in an

amount exceeding $25,000, the exact amount for each to be determined at trial.

3. On all claims for relief, pre-judgment and post-judgment interest at the maximum
legal rate.

4. On all claims for relief, attorneys’ fees and costs of suit.

5. On all claims for relief, such other and further relief as this Court may deem just
and proper.

| DEMAND FOR JURY TRIAL

 

Duke requests a trial by jury for all issues so triable.

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RESPECTFULLY SUBMITTED.

Dated: November 13, 2020

, Qs P Conv” Hp by EX
*Y James P. Cooney IJ HP Mn

James P. Cooney If]

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Attorneys for Plaintiff Duke University

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EXHIBIT |

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EPL Assist:

Employers today face a dizzying array of employment laws, regulations and ongoing employment

issues. Whether it involves employee discipline or termination, wage and hour, disability

accommodation, or even the new frontier of social media, failure to comply with the ever-changing

legal requirements can have a devastating impact on employee morale and the company's bottom

line. ACE recognizes the unique burdens faced by employers today, and is pleased to announce that
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benefit of the program.

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and analysis, combined with the ability to interface directly with Littler lawyers dedicated to assisting ACE insureds in
navigating what has become an employment law minefield. Through a secure web portal containing essential

employment law resources and tools, as well as a toll free hotline service, ACE insureds with primary EPL coverage
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« Nocost, online and live access to the legal experts at Littler, the largest employment and labor firm in the U.S.
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content as:

o Employment policies and practices

o Human Resources forms library

o Sample employee handbooks, including supplement information for all 50 states
o State and national employment law summaries and reference materials

o 50 state surveys on various employment law essentials, including such things as minimum wage and
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Policyholders can simply visit www.EPLAssist.com to register or take a tour. Should you have a question on an

employment situation please call 1-888-244-3844 or visit www.EPLAssist.com.
\ .

Littler Mendelson P.C. is an independent law firm that is not an agent nor an affiliate of the ACE Group of Companies ("ACE Group’), and Littler
Mendelson P.C. is solely respons ble for the advice and guidance provided directly, or through the EPL Assist website. ACE Group and Littler
Mendelson P.C. cannot guarantee that there will be fewer or less serious claims as a result of using the program. Littler Mendelson P.C directly, or
through the EPL Assist website may help an insured with risk assessment and improvement but it is not intended to supplant any duty to provide a
workplace that is safe and complies with the law. ACE Group does not engage in giving legal advice and therefore encourages policyholders to seek the
advice from their own legal counsel when implementing any and all employment practices. Please note that communication with Littler Mendelson P.C,
either directly, or through the EPL Assist website is not notice to the ACE Group issuing company of a claim or an act or situation that may give rise to a
claim. Nothing herein alters or amends in any way the insurance’policy contract between the underwriting company and the policyholder.

EPLA-P (01/13) Case 5:20-cv-00672-BO Document 1-1 Filed 12/14/20 Page 24 0f 111 page 4 of 4
Organization Management Indemnity
Package

Declarations

Westchester Fire Insurance Company ACE EXPRESS Not-For-Profit

This Policy is issued by the stock insurance company listed above (“Insurer”).

THE EMPLOYMENT PRACTICES LIABILITY, INSURED PERSONS AND ORGANIZATION, AND FIDUCIARY
COVERAGE SECTIONS OF THIS POLICY, WHICHEVER ARE APPLICABLE, COVER ONLY CLAIMS FIRST
MADE AGAINST THE INSURED DURING THE POLICY PERIOD OR, IF ELECTED, THE EXTENDED PERIOD
AND REPORTED TO THE INSURER PURSUANT TO THE TERMS OF THE RELEVANT COVERAGE SECTION.
THE CRIME COVERAGE SECTION, IF APPLICABLE, APPLIES, UNLESS OTHERWISE SET FORTH IN THE
POLICY ONLY TO LOSS SUSTAINED AND DISCOVERED DURING THE POLICY PERIOD. PLEASE READ
THIS POLICY CAREFULLY. .

THE LIMITS OF LIABILITY AVAILABLE TO PAY INSURED LOSS SHALL BE REDUCED BY AMOUNTS
INCURRED FOR COSTS, CHARGES AND EXPENSES UNLESS OTHERWISE PROVIDED HEREIN.
AMOUNTS INCURRED FOR COSTS, CHARGES AND EXPENSES AND LOSS SHALL ALSO BE APPLIED
AGAINST THE RETENTION AND DEDUCTIBLE AMOUNTS.

TERMS THAT APPEAR_IN BOLD FACE TYPE HAVE SPECIAL MEANING. PLEASE REFER TO THE
APPROPRIATE DEFINITIONS SECTIONS OF THIS POLICY.

Policy Number: G27543406 001 Renewal of. . G24050117 006
Item A. Parent Organization: Duke University
Principal Address: PO Box 104143

Durham, NC 27708

Item B. . Policy Period: From 01/01/2015 to 01/01/2016
12:01 a.m. local time at the Principal Address shown in Item A.

Item C. Coverage Section(s): .
Aggregate Limit of Liability (all coverages other than Crime): $11,000,000

EMPLOYMENT PRACTICES LIABILITY

1. Limit of Liability
a. $10,000,000 aggregate for all Loss, subject to 1b and ic immediately below,

b. $0 additional aggregate for all Costs, Charges and Expenses, subject to 1c immediately
below,
c. $10,000,000 maximum aggregate for this Coverage Section

2. Retention: $1,000,000 each Employment Practices Claim
$1,000,000 each Third Party Claim

3. Continuity Date: 12/04/1997
4. Third Party Coverage: Yes [| ] No

INSURED PERSONS AND ORGANIZATION
PF-28100 (09/09) . © 2009 Ka Page 1 of 4

Case 5:20-cv-00672-BO Doeument 1-1 Filed 12/14/20 Page 25 of 111
1. Limit of Liability
a. $10,000,000 aggregate for al Loss, subject to 1b and 1c immediately t below,
b. $1,000,000 additional aggregate for all Loss under Insuring Clause A1, subject to 1c
immediately below, ,
c. $11,000,000 maximum aggregate for this Coverage Section

2. Retentions:
$0 each Claim under Insuring Clause 1

$1,000,000 each Claim under Insuring Clause 2
$1,000,000 each Claim under Insuring Clause 3

3. Continuity Date: 12/04/1997

Crime Coverage

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Limit OF Insurance Deductible Amount
Insurance Agreements Per Occurrence Per Occurrence
1.a.. Employee Theft N/A N/A.
b. Employee Benefit Plan N/A - “NIA
c. Client Property N/A N/A
2. Forgery Or Alteration N/A N/A
3. Inside The Premises ~ Theft Of Money And N/A N/A
Securities
4. Inside The Premises — Robbery Or Safe N/A N/A
Burglary
Of Other Property
5. Outside The Premises N/A N/A
6. Computer Fraud NIA N/A
7. Funds Transfer Fraud N/A N/A
8. _ Money Orders And Counterfeit Money N/A NIA
Coverage is provided only if an amount is shown opposite an Insuring Agreement. lf the amount is left blank or "Not
Covered" is inserted, such Insuring Agreement and any other reference thereto in this Policy is deleted.
Total Premium Due $0
* {tem D. ‘Premium: $404,876

Taxes & Surcharges Amount: $0.00
Total Amount Due: $404,876.00

Item E. Discovery Period
1. One (1) year 100% of the premium set forth in Item D of the Declarations
2. Two (2) years , TBD of the premium set forth in Item D of the Declarations
3. Three (3) years TBD of the premium set forth in Item D of the Declarations

As provided in subsection H of the General Terms and Conditions, only one of the above
Discovery Period options may be elected and purchased.

Item F. Run-Off Period
4. One (1) year TBD.
2. Two (2) years TBD
3. Three (3) years TBD
4. Four (4) years TBD
5. Five (5) years TBD
6. Six (6) years TBD.
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As provided in subsection | of the General Terms and Conditions, only one of the above Run-Off
Period options may be elected and purchased.

item G. Notice under this Policy shall be given to:

A. Notice of Claim, Wrongful Act or Loss:

ACE USA

P.O. Box 5105

Scranton, PA 18505-0518
Fax: 888-844-9073

Email address for submitting Private and NonProfit Claims,
ACEClaimsFirstNotice@aceqgroup.com

Email address for all other correspondence,
ApolloProRskACEIncoming@acegroup.com

B. All other notices:

ACE USA, Professional Risk ;
Attention: Chief Underwriting Officer
1133 Avenue of the Americas, 32°9 F]
New York, NY 10036

Item H. Special Event Fund: $25,000
Item L Forms attached at Policy issuance:

e EPLA-P (01/13) - EPL Assist

© CC-1K11h (03/14) - Signatures

« PF-28101 (09/09) - ACE Express Not-For-Profit Organization Management Indemnity

Package General Terms and Conditions ;

e PF-28103 (09/09) - ACE Express Not-For-Profit Organization Management Indemnity
_ Package Employment Practices Liability Coverage Section

e PF-28102 (09/09) - ACE Express Not-For-Profit Organization Management Indemnity
Package Insured Persons and Organization Coverage Section

PF-15026c (01-08) - Cap On Losses From Certified Acts of Terrorism -

PF-18490 (09/09) - Professional Services Errors and Omissions Exclusions
PF-28129 (09/09) - Amendatory Endorsement - North Carolina
PF-28920 (02/10) - Failure To Maintain Insurance Exclusion

PF-29474 (04/10) - Captive Exclusion -

PF-34337a (06/12) - Wage and Hour - Costs, Charges and Expenses Sublimit Coverage
Only with Separate Retention

PF-39255 (10/12) - Specified Matter Exclusion

PF-38943 (08/12) - Amend Conduct Exclusion - Final - Non-Appealable - D&O/EPL
PF-39068 (09/12) - Notice - GC/RM - 60 Days - D&O/EPL

PF-38330a (04/13) - Optional Duty to Defend - D&O and EPL

MS-35924 (01/15) - Specified Party Exclusion

MS-35925 (01/15) - Additional Affiliates

MS-35926 (01/15) - Employed Lawyers Professional Liability

MS-35927 (01/15) - Human Clinical Trail Exclusion With A-Side Carveback - D&O
MS-35928 (01/15) - Outside Entity Exclusion - Amended - D&O

MS-35929 (01/15) - Definition of Claim - Amended - D&O/EPL

MS-35930 (01/15) - Health Care / Education Coverage Extension - Anti-Trust Ca-Insurance

TRIA12b (01-08) - Disclosure Pursuant To Terrorism Risk Insurance Act

PF-28100 (09/09) ©2000 Ks — Page 3 of 4

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* All-20887 (10-06) - ACE Producer Compensation Practices & Policies

e All-21101 (11-06) - Trade or Economic Sanctions Endorsement

* ILP 001 01 04 - U.S. Treasury Departments’ Office of Foreign Assets Control ("OFAC")
Advisory Notice to Policyholders

IN WITNESS WHEREOF, the Insurer has caused this Policy to be signed by its President and Secretary, and
countersigned by a duly authorized representative of the Insurer.

  

DATE: 01/01/2015 JOHN J. LUPICA, President

Authorized Representative

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SIGNATURES

 

 

 

Named Insured . Endorsement Number
Duke University ‘ 001

Policy Symbof Policy Number Policy Period . Effective Date of Endorsement
DON G27543406 001 01/01/2015 to 01/01/2016 01/01/2015

 

 

 

issued By (Name of Insurance Company)
Westchester Fire Insurance Company

 

 

 

THE ONLY SIGNATURES APPLICABLE TO THIS POLICY ARE THOSE REPRESENTING THE COMPANY NAMED ON
THE FIRST PAGE OF THE DECLARATIONS.

By signing and delivering the policy to you, we state that it is a valid contract.

INDEMNITY INSURANCE COMPANY OF NORTH AMERICA (A stock company)
BANKERS STANDARD FIRE AND MARINE COMPANY (A stock company)
BANKERS STANDARD INSURANCE COMPANY {A stock company)

ACE AMERICAN INSURANCE COMPANY (A stock company)

' ACE PROPERTY AND CASUALTY INSURANCE COMPANY (A stock company)
INSURANCE COMPANY OF NORTH AMERICA (A stock company)
PACIFIC EMPLOYERS INSURANCE COMPANY (A stock company)

ACE FIRE UNDERWRITERS INSURANCE COMPANY (A stock company)
WESTCHESTER FIRE INSURANCE COMPANY (A stock company)

436 Wainut. Street, P.O. Box 1000, Philadelphia, Pennsylvania 19106-3703

  

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kites COLLINS, Secretary JCHN J LUPICA. President

 

Authorized Representative

CC-1K1 1h (03/14)

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Westchester Fire Insurance Company ACE EXPRESS Not-for-Profit
Organization Management Indemnity
Package

 

General Terms and Conditions

in consideration of the payment of premium, in reliance on the Application and subject to the Declarations, and terms
and conditions of this Policy, the Insurer and the Insureds agree as follows:

A. SEVERABILITY OF GENERAL TERMS AND CONDITIONS

These General Terms and Conditions apply to each and every Coverage Section of this Policy. The terms and
conditions of each Coverage Section apply only to that Coverage Section and shall not be construed to apply to
any other Coverage Section.

B. DEFINITIONS

Whenever used in this Policy, the terms that appear below in boldface type shall have the meanings set forth in
this Definitions section of the General Terms and Conditions. However, if a term also appears in boldface type in
a particular Coverage Section and is defined in that Coverage Section, that definition shall apply for purposes of
that particular Coverage Section. Terms that appear in boldface in the General Terms and Conditions but are not
defined in this Definitions section and are defined in other Coverage Sections of the Policy shall have the
meanings ascribed to them in those Coverage Sections.

1. Application means all applications, including any attachments thereto, and ail other information and
materials submitted by or on behalf of the Insureds to the Insurer in connection with the Insurer underwriting
this Policy or any policy with an inception date within thirty-six months prior to the inception date of this
Policy, of which this Policy is a renewal or replacement. All such applications, attachments, information,
materials and documents are deemed attached to and incorporated into this Policy.

2. Discovery Period means one of the periods described in Item E of the Declarations which is elected and
purchased pursuant to section H below. .

3. Domestic Partner means any natural person qualifying as a domestic partner under the provisions of any
applicable federal, state or local law or under the provisions of any formal program established by the
Organization. .

4. Extended Period means the Discovery Period or the Run-Off Period, if such provision is elected and
purchased pursuant to section H or |, respectively, below. ,

5. insurer means the insurance company providing this insurance.
6. Organization means:
a) the Parent Organization; and

b) any Subsidiary;

and includes any such organization as a debtor-in-possession or the bankruptcy estate of such entity under
United States bankruptcy law or an equivalent status under the law of any other jurisdiction.

7. Parent,Organization means the entity first named in Item A of the Declarations. _

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. Policy means, collectively, the Declarations, the Application, this policy form and any endorsements.

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9. Policy Period means the period from the effective date and hour of the inception of this Policy to the Policy
expiration date and hour as set forth in Item B of the Declarations, or its earlier cancellation date and hour, if

any.

10. Run-Off Period means one of the periods described in Item F of the Declarations, which is elected and
purchased pursuant to section | below. .

11. Subsidiary means:

a) any entity of which the Parent Organization holds more than 50% of the present voting interest, either
directly, or indirectly through one or more of its Subsidiaries, or has the right to elect or appoint more
than 50% of the voting directors or trustees, either directly, or indirectly through one or more of its
Subsidiaries (‘Control’), if such entity:

(i) was so Controlled on or prior to the inception date of this Policy; or

(ii) becomes so Controlled after the inception date of this Policy; and 2

b) any joint venture entity in which the Parent Organization, or an entity described in a) above, has an
exact 50% ownership of the interests of such joint venture entity and where, pursuant to a written joint
venture agreement, the Parent Organization or entity described in a) above solely controls the
management and operations of such joint venture entity.

12. Takeover means:

a) the acquisition by any person or entity of all or substantially all of the Parent Organization’s assets, or of
the Control of the Parent Organization; or

b) the merger or consolidation of the Parent Organization into another entity such that the Parent
Organization is not the surviving entity.

All definitions shall apply equally to the singular and plural forms of the respective words.
C. ‘LIMITS OF LIABILITY, RETENTIONS AND DEDUCTIBLES

1. Ifasingle Aggregate Limit of Liability is granted as provided in Item C of the Declarations, the amount stated
in Item C of the Declarations shall be the maximum aggregate liability of the Insurer for all Loss resulting
from all Claims first made during the Policy Period, regardless of Coverage Section. The Limit(s) of Liability
of each Coverage Section is part of, and not in addition to, the Aggregate Limit of Liability set forth in Item C
of the Declarations and in no way shall be deemed to increase the Aggregate Limit of Liability as set forth
therein. This paragraph 1 shall not apply to the Crime Coverage Section.

. ‘

2. The Limits of Liability, Retentions and Deductibles for each Coverage Section are separate Limits of Liability,
Retentions and Deductibles pertaining only to the Coverage Section for which they are shown. Subject to
paragraph 1 above, the application of a Retention or Deductible to Loss under one Coverage Section shall
not reduce the Retention or Deductible under any other Coverage Section, and no reduction in the Limit of
Liability applicable to one Coverage Section shall reduce the Limit of Liability under any other Coverage
Section.

3. In the event that any Claim is covered, in whole or in part, under two or more Insuring Clauses or more than
one Coverage Section, the total applicable Retention or Deductible shall not exceed the single largest
applicable Retention or Deductible. The largest applicable Retention or Deductible shall apply only once to
such Claim.

D. WARRANTY AND NON-RESCINDABILITY
itis warranted that the particulars and statements contained in the Application are the basis of this Policy and

are to be considered as incorporated into and constituting a part of this Policy and each Coverage Section. By
acceptance of this Policy, the Insureds agree that the statements in the Application are their representations,

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that such representations shall be deemed material to the acceptance of the risk or the hazard assumed by
Insurer under this Policy, and that this Policy and each Coverage Section are issued in reliance upon the truth
of such representations.

For purposes of this section, the knowledge of a natural person Insured shall not be imputed to any other natural
person Insured, and the knowledge of only the chief executive officer, chief financial officer, and general counsel
(and additionally, with respect to the Fiduciary Coverage Section, the Application signatory), or equivalent
positions, shall be imputed to an entity Insured.

This Policy and any Coverage Sections shall not be rescinded by the Insurer in whole or in part for any reason.
E. CANCELLATION

1. By acceptance of this Policy, the Insureds hereby confer to the Parent Organization the exclusive power
and authority to cancel this Policy on their behalf. The Parent Organization may cancel this Policy in its
entirety or any of the applicable Coverage Sections individually by surrender thereof to the Insurer, or by
mailing written notice to the Insurer stating when thereafter such cancellation shall be effective. The mailing
of such notice shall be sufficient notice and the effective date of cancellation shall be the date the Insurer
received such notice or any later date specified in the notice, and such effective date shall become the end of
the Policy Period or applicable Coverage Section. Delivery of such written notice shall be equivalent to |
mailing.

2. This Policy may be cancelled by the Insurer only for nonpayment of premium, by mailing written notice to the
Parent Organization stating when such cancellation shall be effective, such date to be not less than 30 days
from the date of the written notice. The mailing of such notice shall be sufficient notice and the effective date
of cancellation stated in the notice shall become the end of the Policy Period. Delivery of such written notice
by the Insurer shall be equivalent to mailing. If the foregoing notice period is in conflict with any governing law
or regulation, then the notice period shall be deemed to be the minimum notice period permitted under the
governing law or regulation.

3. If this Policy or any Coverage Section is cancelled, the Insurer shall retain the pro rata proportion of the
premium therefore. Payment or tender of any unearned premium by the Insurer shail not be a condition
precedent to the effectiveness of cancellation.

F. ESTATES, LEGAL REPRESENTATIVES, AND SPOUSES

The estates, heirs, legal representatives, assigns, spouses and Domestic Partners of natural persons who are
Insureds shall be considered Insureds under this Policy; provided, however, coverage is afforded to such
estates, heirs, legal representatives, assigns, spouses and Domestic Partners only for a Claim arising solely out
of their status as such and, in the case of a spouse or Domestic Partner, where the Claim seeks damages from,
marital community property, jointly held property or property transferred from the natural person who is an
insured to the spouse or Domestic Partner. No coverage is provided for any Wrongful Act of an estate, heir,
legal representative; assign, spouse or Domestic Partner. All of the terms and conditions of this Policy
including, without limitation, the Retentions and Deductibles applicable to Loss incurred by natural persons who
are Insureds shail also apply to Loss incurred by such estates, heirs, legal representatives, assigns, spouses
and Domestic Partners.

G. AUTHORIZATION CLAUSE

By acceptance of this Policy, the Parent Organization agrees to act on behalf of all Insureds, and the Insureds
agree that the Parent Organization will act on their behalf, with respect to the giving of all notices to Insurer, the
receiving of notices from Insurer, the agreement to and acceptance of endorsements, the payment of the
premium and the receipt of any return premium.

H. DISCOVERY PERIOD

1. If this Policy or any Coverage Section is cancelled or is not renewed by the insurer, for reasons other than
non-payment of premium, or if the Parent Organization elects to cancel or not to renew this Policy or a
Coverage Section, then the Parent Organization shall have the right, upon payment of an additional
premium calculated at that percentage shown in Item E of the Declarations of the total premium for this

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Policy, or the total premium for the cancelled or not renewed Coverage Section, whichever is applicable, to
purchase an extension of the coverage granted by this Policy or the applicable cancelled or not renewed
Coverage Section with respect to any Claim first made during the period of time set forth in Item E of the
Declarations, after the effective date of such cancellation or, in the event of a refusal to renew, after the
Policy expiration date, but only with respect to any Wrongful Act committed before such date. The Parent
Organization shall have the right to elect only one of the Discovery Periods set forth in Item E of the

Declarations.

2. As acondition precedent to the right to purchase the Discovery Period set forth in section H.1. above, the
total premium for the Policy must have been paid. Such right to purchase the Discovery Period shall
terminate unless written notice, together with full payment of the premium for the Discovery Period, is
received by Insurer within 30 days after the effective date of cancellation, or, in the event of a refusal to
renew, within 30 days after the Policy expiration date. If such notice and premium payment is not so given to
Insurer, there shall be no right to purchase the Discovery Period.

3. In the event of the purchase of the Discovery Period, the entire premium therefore shall be deemed earned
at the commencement of the Discovery Period.

4. The exercise of the Discovery Period shall not in any way increase or reinstate the limit of Insurer's liability
under any Coverage Section.

1. RUN-OFF COVERAGE AND TERMINATION OF A SUBSIDIARY |
4. Inthe event of a Takeover:

a) The Parent Organization shall have the right, upon payment of an additional premium
calculated at the percentage of the total premium for this Policy set forth in Item F of the Deciarations, to
an extension of the coverage granted by this Policy with respect to any Claim first made during the
Run-Off Period, as set forth in Item F of the Declarations, but only with respect to any Wrongful Act
committed before the effective date of the Takeover (herein defined as "Run-Off Coverage”), provided,

however, such additional premium shall be reduced by the amount of the unearned premium from
the date of the Takeover or the date of notice of the election of the Run-Off Coverage,
whichever is later, through the expiration date set forth in Item B of the Declarations.

b) The Parent Organization shall have the right to elect only one of the periods designated in lei F of the
Declarations. The election must be made prior to the expiration of the Policy Period. The right to
purchase a Run-Off Period shall terminate on the expiration of the Policy Period.

c) Ifa Run-off Period is elected and purchased:

(i) Section E, above, is deleted in its entirety and neither the insureds nor the Insurer may
cancel this Policy or any Coverage Section thereof,

(ii) Section H, above, is deleted in its entirety; and

(iii) the Limit(s) of Liability of the Insurer for Run-Off Coverage for cach Coverage Scction purchased,
and in the aggregate, shall be part of, and not in addition to, the Limit(s) of Liability shown in the
Declarations. The purchase of the Run-Off Coverage shall not increase or reinstate the Limit(s) of
Liability, which shall be the maximum Limit(s) of Liability of the Insurer for the Policy Period and the
Run-off Coverage, combined. .

2. If before or during the Policy Period an organization ceases to be a Subsidiary, coverage with respect
to the Subsidiary and its natural person Insureds shall continue until termination of this Policy. Such
coverage continuation shail apply only with respect to Claims for Wrongful Acts, or Employment
Practices Wrongful Acts, taking place prior to the date such organization ceased to be a Subsidiary.

J. ALTERNATIVE DISPUTE RESOLUTION |

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The Insureds and the Insurer shall submit any dispute or controversy arising out of or relating to this Policy or
the breach, termination or invalidity thereof to the alternative dispute resolution ("ADR") process described in this
subsection.

Either an insured or the Insurer may elect the type of ADR process discussed below; provided, however, that the
insured shall have the right to reject the choice by the Insurer of the type of ADR process at any time prior to its
commencement, in which case the choice by the Insured of ADR process shall control.

There shall be two choices of ADR process: (1) non-binding mediation administered by any mediation facility to
which the Insurer and the Insured mutually agree, in which the Insured and the Insurer shall try in good faith to
settle the dispute by mediation in accordance with the then-prevailing commercial mediation rules of the
mediation facility; or (2) non-binding arbitration submitted to any arbitration facility to which the Insured and the
Insurer mutually agree, in which the arbitration panel shall consist of three disinterested individuals. In either
mediation or arbitration, the mediator or arbitrators shall have knowledge of the legal, corporate management,
and insurance issues relevant to the matters in dispute. In the event of arbitration, the decision of the arbitrators
shall be provided to both parties, and the award of the arbitrators shall not include attorneys’ fees or other costs,
In the event of either mediation or arbitration, either party shall have the right to commence a judicial proceeding;
provided, however, that no such judicial proceeding shall be commenced until the conclusion of the arbitration, or
in the event of mediation, at least 60 days after the date the mediation shall be deemed concluded or terminated.
In all events, each party shail share equally the expenses of the ADR process.

Either ADR process may be commenced in New York, New York or in the state indicated in Item A of the
Declarations as the principal address of the Parent Organization. The Parent Organization shall act on behalf
of each and every Insured in connection with any ADR process under this section.

K. TERRITORY

Where legally permissible, coverage under this Policy shall extend to Wrongful Acts taking place or Claims
made anywhere in the world. .

L. ASSISTANCE, COOPERATION AND SUBROGATION

The Insureds agree to provide Insurer with such information, assistance and cooperation as Insurer reasonably
may request, and they further agree that they shall not take any action which in any way increases Insurer's
exposure under this Policy. In the event of any payments under this Policy, Insurer shall be subrogated to the
extent of such payment to ail of the Insureds’ rights of recovery against any person or entity. The Insureds shall
execute all papers required and shall do everything that may be necessary to secure and preserve such rights,
including the execution of such documents as are necessary to enable Insurer effectively to bring suit or
otherwise pursue subrogation in the name of the Insureds, and shall provide all other assistance and cooperation
which Insurer may reasonably require.

M. ACTION AGAINST INSURER, ALTERATION AND ASSIGNMENT

Except as provided in section J above, Alternative Dispute Resolution, no action shall lie against Insurer unless,
as a condition precedent thereto, there shall have been compliance with all of the terms of this Policy. No person
or organization shall have any right under this Policy to join Insurer as a party to any action against the Insureds
to determine their liability, nor shail Insurer be impleaded by the Insureds or their legal representative. No
change in, modification of, or assignment of interest under this Policy shall be effective except when made by a
written endorsement to this Policy which is signed by an authorized representative of the Insurer.

N. BANKRUPTCY

Bankruptcy or insolvency of any Insured or of the estate of any Insured shall not relieve the Insurer of its
obligations nor deprive the Insurer of its rights or defenses under this Policy. The insurance provided by this
Policy is intended as a matter of priority to protect and benefit the natural person Insureds such that, in the
event of bankruptcy of the Organization, the Insurer shall first pay Loss covered under Insuring Clause A1 of
the Insured Persons and Organization Coverage Section, and under the Employment Practices Liability
Coverage Section for which the Organization is not permitted or required to indemnify the natural person
Insured, prior to paying Loss under any other {nsuring Clause. Ifa liquidation or reorganization proceeding is

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commenced by the Parent Organization or any other Organization (whether voluntary or involuntary) under Title
44 of the United States Code (as amended), or any similar state, local or foreign law (collectively, Bankruptcy
Law’) then, in regard to a covered Claim under this Policy, the insureds hereby waive and release any
automatic stay or injunction (“Stay”) to the extent such Stay may apply to the proceeds of this Policy under such
Bankruptcy Law, and agree not to oppose or object to any efforts by the Insurer or any Insured to obtain relief
from the Stay applicable to the proceeds of this Policy as a result of such Bankruptcy Law.

O. ENTIRE AGREEMENT

By acceptance of this Policy, the Insureds agree that this Policy embodies all agreements existing between
them and Insurer or any of their agents relating to this insurance. Notice to any agent or knowledge possessed
by any agent or other person acting on behalf of Insurer shall not effect a waiver ora change in any part of this
Policy or estop Insurer from asserting any right under the terms of this Policy or otherwise, nor shall the terms
be deemed waived or changed except by written endorsement or rider issued by Insurer to form part of this

Policy.

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Westchester Fire Insurance Company ACE EXPRESS Not-fo r-Profit
Organization Management
Indemnity Package

Employment Practices Liability
Coverage Section

in consideration of the payment of premium, in reliance on the Application and subject to the Declarations, and terms
and conditions of this Policy, the Insurer and the Insureds agree as follows.

A. INSURING CLAUSES

1.

Employee Insuring Clause

Insurer shall pay the Loss of the insureds which the Insureds have become legally obligated to pay by
reason of an Employment Practices Claim first made against the Insureds during the Policy Period or, if
elected, the Extended Period, and reported to the Insurer pursuant to Section E.1 herein, for an
Employment Practices Wrongful Act taking place prior to the end of the Policy Period.

Third Party Insuring Clause

In the event Third Party Coverage is affirmatively designated in Item C of the Declarations relating to this
Coverage Section, the Insurer shall pay the Loss of the Insureds which the Insureds have become legally
obligated to pay by reason of a Third Party Claim first made against the Insureds during the Policy Period
or, if elected, the Extended Period, and reported to the Insurer pursuant to Section E.1 herein, for a Third
Party Wrongful Act taking place prior to the énd of the Policy Period.

B. DEFINITIONS

1.

Claim means any: |
a) Employment Practices Claim, or
b) Third Party Claim. ‘

Continuity Date means the Continuity Date set forth in Item C of the Declarations relating to this Coverage
Section.

Costs, Charges and Expenses means reasonable and necessary legal costs, charges, fees and expenses
incurred by the Insurer, or by any Insured with the Insurer’s consent, in defending Claims and the premium
for appeal, attachment or similar bonds arising out of covered judgments, but with no obligation to furnish
such bonds and only for the amount of such judgment that is up to the applicable Limit of Liability. Costs,
Charges and Expenses do not include salaries, wages, fees, overhead or benefit expenses of or associated
with officers or employees of the Organization.

Employee means any person who was, now is, or shall become:

a) a full-time or part-time employee of the Organization, including seasonal and temporary employees;

b) an applicant for employment with the Organization;

c) any natural person.who is a leased employee or contracted to perform work for the Organization, or is
an independent contractor for the Organization, but only to the extent such individual performs work or

services for or on behalf of the Organization; and,

d) a volunteer whose labor or service is engaged and directed by the Organization, but only while that
person is acting in the capacity as such.

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5. Employment Practices Claim means:
a) awritten demand against an Insured for damages or other relief,

b) acivil, judicial, administrative, regulatory or arbitration proceeding against an Insured seeking damages
or other relief, commenced by the service of a complaint or similar pleading, including any appeal
therefrom;

c) acivil proceeding against an Insured before the Equal Employment Opportunity Commission or any
similar federal, state or local governmental body, commenced by the filing of a notice of charges,
investigative order or similar document;

-d) acriminal proceeding brought for an Employment Practices Wrongful Act against any
Insured, commenced by a return of an indictment or similar document, or receipt or filing
of a notice-of charges;

e) acivil, criminal, administrative or regulatory investigation commenced by:

(i) the service upon or other receipt by any natural person Insured of a written notice, investigative
order, or subpoena; or
(ii) the service upon or other receipt by any Organization of a written notice or investigative order;

from the investigating authority identifying such natural person Insured as an individual; or such
Organization as an entity, respectively, against whom a proceeding described in paragraphs b, c ord
immediately above may be commenced; or

f) a written request of the Insured to toll or waive a statute of limitations relating to a Claim described in
paragraphs a through e immediately above;

brought by or on behalf of an Employee in his or her capacity as such. Employment Practices Claim does
not include a labor or grievance proceeding, which is pursuant to a collective bargaining agreement.

6. Employment Practices Wrongful Act means any actual or alleged:

a) violation of any common or statutory federal, state, or local law prohibiting any kind of employment related
discrimination;

b) harassment, including any type of sexual or gender harassment as well as racial, religious, sexual
orientation, pregnancy, disability, age, or national origin-based harassment, or unlawful workplace
harassment, including workplace harassment by any non-employee; ‘

c) abusive or hostile work environment,

d) wrongful discharge or termination of employment, whether actual or constructive;
e) breach of an actual or implied employment contract,

f) wrongful deprivation of a career opportunity, wrongful failure or refusal to employ, promote, or grant
tenure, or wrongful demotion;

g) employment-related defamation, libel, slander, disparagement, false imprisonment, misrepresentation,
malicious prosecution, or invasion of privacy, or the giving of negative or defamatory statements in
connection with an employee reference; ,

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h) wrongful failure or refusal to adopt or enforce workplace or employment practices, policies or procedures;
i) wrongful discipline;

j) employment-related wrongful infliction of emotional distress, mental anguish, or humiliation;

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?
Retaliation;
negligent evaluation; or
negligent hiring, supervision, retention or training of others, but only if employment-related and claimed by

or on behalf of any Employee and only if committed or allegedly committed by any of the Insureds in
their capacity as such.

7. Insured Persons means all persons who were, now are or shall become:

a) a director, officer, trustee, trustee emeritus, governor, executive director, department head or committee
member (of a duly constituted committee of the Organization) of the Organization,

b) an Employee;

c) an Outside Entity Executive; and,.

d) the functional equivalent of a director, officer or Employee in the event the Organization is

incorporated or domiciled outside the United States.

8. Insureds means the Organization and any Insured Persons.

9. Interrelated Wrongful Acts means all Wrongful Acts that have as a common nexus any fact, circumstance,
situation, event, transaction, cause or series of facts, circumstances, situations, events, transactions or
causes.

10. Lo

ss means the damages, judgments, settlements, front pay and back pay, pre-judgment or post-judgment

interest awarded by a court, and Costs, Charges and Expenses incurred by any of the Insureds. Loss does

no

i)

t include:
taxes, fines or penalties;
matters uninsurable under the laws pursuant to which this Policy ts construed;

punitive or exemplary damages, liquidated damages awarded by a court pursuant to a violation of the
Equal Pay Act, the Age Discrimination in Employment Act or the Family Medical Leave Act, all as
amended, or any rules or regulations promulgated thereunder, or similar provisions of any common or
statutory federal, state or local law, or the multiple portion of any multiplied damage award, except to the
extent that such punitive, exemplary, or liquidated damages or the multiple portion of any multiplied
damage award are insurable under the internal laws.of any jurisdiction which most favors coverage for
such damages and which has a substantial relationship to the Insureds, Insurer, this Policy or the
Claim giving rise to such damages;

the cost of any remedial, preventative or other non-monetary relief, including without limitation any costs
associated with compliance with any such relief of any kind or nature imposed by any judgment,
settlement or governmental authority;

amounts owed under any employment contract, partnership, stock or other ownership agreement, or any
other type of contract;

disability, social security, workers compensation, medical insurance, retirement or pension benefit
payments, or settlement amounts representing benefit payments;

the costs to modify or adapt any building or property to be accessible or accommodating, or to be more
accessible or accommodating, to any person;

,

any amount owed as wages, compensation or commission to any Employee, other than front pay or back
pay; or

any amount for which the Insured is not financially liable or legally obligated to pay.

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11. Outside Entity means:

a) any non-profit company in which any Insured Person as defined in Section B, Definitions, subsection 7,
paragraph (a), is a director, officer, trustee, governor, executive director or similar position of such non-
profit company; and

b) any other company specifically identified by endorsement to this Policy.
12. Retaliation means any actual or alleged response of any of the Insureds to:

a) the disclosure or threat of disclosure by an Employee to a superior or to any governmental agency of any
act by any of the Insureds where such act is alleged to be a violation of any federal, state, local or foreign
law, whether common or statutory, or any rule or regulation promulgated thereunder,

b) the actual or attempted exercise by an Employee of any right that such Employee has under law,
including rights under any worker's compensation law, the Family and Medical Leave Act, the Americans

with Disabilities Act or any other law relating to employee rights;

c) the filing of any claim under the Federal False Claims Act or any similar federal, state, local or foreign
"whistleblower" law or “whistleblower” provision of any law; .

d) any legally-protected Employee work stoppage or slowdown; or -

e) an Employee assisting, cooperating or testifying in any proceeding or investigation into
whether an Insured violated any federal, state, local or foreign law, common or statutory,
or any rule or regulation promulgated thereunder.

13. Third Party means any natural person who is a customer, vendor, service provider, client, or other business
invitee of the Organization, or any other natural person or group of natural persons; provided, however,
Third Party shall not include any Employee.

14. Third Party Claim means:

a) any written demand for damages or other relief against an Insured;

b) acivil, judicial, administrative or arbitration proceeding against an Insured seeking damages or other
relief, including any appeal therefrom, or

c) acriminal proceeding brought for an Employment Practices Wrongful Act in a court outside of the
United States against any Insured, commenced by a return of an indictment or similar document, or
receipt or filing of a notice of charges;

brought by or on behalf of a Third Party in their capacity as such.

15. Third Party Wrongful Act means any actual or alleged:

a) harassment of a Third Party, including but not limited to any type of sexual or gender harassment as well
as racial, religious, sexual orientation, pregnancy, disability, age, or national origin-based harassment; or

b) discrimination against a Third Party, including but not limited to any such discrimination on account of
race, color, religion, age, disability or national origin.

16. Wrongful Act means any:
a) Employment Practices Wrongful Act; or
b) Third Party Wrongful Act.
C. EXCLUSIONS |

Insurer shall not be liable for Loss under this Coverage Section on account of any Claim:
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1. for actual or alleged bodily injury, sickness, disease or death of any person, or damage to or destruction of .
any tangible or intangible property including loss of use thereof, whether or not such property is physically
injured; provided, however, this exclusion shali not apply to mental anguish, emotional distress or humiliation,

2. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of, or
in any way involving:

a) any Wrongful Act, fact, circumstance or situation which has been the subject of any written notice given
under any other policy of which this Policy is a renewal or replacement or which it succeeds in time: or

b) any other Wrongful Act whenever occurring which, together with a Wrongful Act which has been the
subject of such notice, would constitute interrelated Wrongful Acts;

3. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of, or
in any way involving: (i) improper payroll deductions, unpaid wages, misclassification of exempt or non-
exempt employee status, compensation earned by or due to the claimant but not paid by the Insured
(including but not limited to commission, vacation and sick days, retirement benefits, and severance pay), .

’ overtime pay for hours actually worked or labor actually performed by any Employee of a Organization, or
any employee of an Outside Entity, or any violation of any federal, state, local or foreign statutory law or
common law that governs the same topic or subject, or any rules, regulations or amendments thereto; or (ii)
any violation of the responsibilities, obligations or duties imposed by the Fair Labor Standards Act (except the
Equal Pay Act), as amended, or any rules or regulations promulgated thereunder, or similar provisions of any
common or statutory federal, state, local or foreign law. Provided, however, this exclusion does not apply to
any back pay or front pay allegedly due as the result of discrimination, or that part of any such Claim alleging
Retaliation; :

4. for any actual or alleged violation of the responsibilities, obligations or duties imposed by the Employee
Retirement Income Security Act of 1974, the National Labor Relations Act, the Worker Adjustment and
Retraining Notification Act, the Consolidated Omnibus Budget Reconciliation Act of 1985, the Occupational
Safety and Health Act, all as amended, or any rules or regulations promulgated thereunder, or similar
provisions of any common or statutory federal, state or local law. Provided, however, this exclusion does not
apply to that part of any such Claim alleging violations of the Equal Pay Act or Retaliation;

5. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of, or
in any way involving any deliberately fraudulent or criminal act; provided, however this exclusion shall not
apply unless and until there is a final adjudication against such Insured as to such conduct. If such excluded
conduct is established through a final adjudication, the Insured shall reimburse the Insurer for any Costs,
Charges and Expenses;

6. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of, or
in any way involving:

a) any prior or pending litigation or administrative or regulatory proceeding, demand /etter or formal or
informal governmental investigation or inquiry, including without limitation any investigation by the U.S.
Department of Labor or the U.S. Equal Employment Opportunity Commission, filed or pending on or
before the Continuity Date; or

b) any fact, circumstance, situation, transaction or event underlying or alleged in such litigation or
administrative or regulatory proceeding, demand letter or formal or informal governmental investigation or
inquiry, including any investigation by the U.S. Department of Labor or the U.S. Equal Employment
Opportunity Commission;

7. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of, or
in any way involving, any actual or alleged responsibility, obligation or duty of any Insured pursuant to any
workers compensation, unemployment insurance, social security, disability benefits or pension benefits or
similar law; provided, however, this exclusion shall not apply to that part of any such Claim alleging
Retaliation;

8. fora Wrongful Act actually or allegedly committed or attempted by any Insured Person in his or her
capacity as a director, officer, trustee, manager, member of the board of managers or equivalent executive of
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a limited liability company or employee of, or independent contractor for or in any other capacity or position
with any entity other than the Organization; provided, however, that this exclusion shall not apply to Loss
resulting from any such Employment Practices Claim to the extent that:

a) such Employment Practices Claim is based on the service of any Insured Person as defined
in Section B, Definitions, subsection 7, paragraph (a), as a director, officer, trustee, governor, executive
director or similar position of any Outside Entity where such service is with the knowledge and consent
of the Organization; and

b) such Outside Entity is not permitted or required by law to provide indemnification to such {nsured
Person; and , ,

c) such Loss is not covered by insurance provided by any of the Outside Entity's insurer(s);

9. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of, or
in any way involving any Wrongful Act actually or allegedly committed subsequent to a Takeover, or

10. for that portion of Loss which is covered under any other Coverage Section of this Policy.

No Wrongful Act of one or more Insureds shall be imputed to any other insureds for the purpose of determining the
applicability of any of the above exclusions. ‘

D. LIMIT OF LIABILITY AND RETENTIONS

1. The liability of the Insurer shall apply only to that part of Loss which is excess of the Retention amount
applicable to this Coverage Section, as shown in Item C of the Declarations. Such Retention shall be borne
uninsured by the Insureds and at their own risk. If different parts of a single Claim are subject to different
applicable Retentions under this Coverage Section, the applicable Retentions will be applied separately to
each part of such Loss, but the sum of such Retentions shall not exceed the largest applicable Retention.

2. As shown in Item C.1 of the Declarations relating to this Coverage Section, the following Limits of Liability of
the Insurer shall apply:

a) The amount set forth in Item C.1.a of the Declarations relating to this Coverage Section shall be the
aggregate limit of liability for the payment of Loss, subject to additional payments for Costs, Charges
and Expenses as further described in paragraph 2b) immediately below. ,

b) The amount set forth in Item C.1.b of the Declarations relating to this Coverage Section shall be the
aggregate limit of liability for the payment of Costs, Charges and Expenses in addition to the limit
described in paragraph 2a) immediately above; provided, all payments for Costs, Charges and
Expenses under the additional limit described in this paragraph 2b) shall be excess of the limit described
in paragraph 2a) above, and excess of any other available insurance that is specifically excess to this
Policy. Such excess insurance must be completely and fully exhausted through the payment of loss,
including but not limited to defense costs thereunder, before the Insurer shall have any obligations to
make any payments under the additional limit described in this paragraph 2b).

c) The amount set forth in Item C.1.c of the Declarations relating to this Coverage Section shail be the
maximum aggregate limit of liability under this Coverage Section, and the limit of liability set forth in C.1.a
and C.1.b of the Declarations relating to this Coverage Section shall be a part of and not in addition to the
maximum aggregate limit of liability set forth in Item C.1.c of the Declarations for this Coverage Section.

3. All Claims arising out of the same Wrongful Act and all Interrelated Wrongful Acts shall be deemed to be
a single Claim, and such Claim shall be deemed to have been made at the earliest of the following times,
regardless of whether such date is before or during the Policy Period:

a) the time at which the earliest Claim involving the same Wrongful Act or interrelated Wrongful Acts is
first made; or

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b) the time at which the Claim involving the same Wrongful Act or Interrelated Wrongful Acts shall be
deemed to have been made pursuant to Section E.2 below.

4. Payments of Loss by Insurer shall reduce the Limit(s) of Liability under this Coverage Section. Costs,
Charges and Expenses are part of, and not in addition to, the Limit(s) of Liability, and payment of Costs,
Charges and Expenses reduce the Limit(s) of Liability. If such Limit(s) of Liability are exhausted by payment
of Loss, the obligations of the Insurer under this Coverage Section are completely fulfilled and extinguished.

E. NOTIFICATION

1. The tnsureds shall, as a condition precedent to their rights to payment under this Coverage Section only,
give to Insurer written notice of any Claim made against the Insureds as soon as practicable after the
Organization’s general counsel, risk manager, human resources director, chief executive officer or chief
financial officer (or equivalent positions) first becomes aware of such Claim, but in no event later than: (a) 60
days after such individual first becomes aware of such Claim; or (b) the expiration of the Policy Period or
Extended Period, if purchased, whichever is later.

2. If, during the Policy Period or the Discovery Period, any of the Insureds first becomes aware of facts or
circumstances which may reasonably give rise to a future Claim covered under this Policy, and if the
insureds, during the Policy Period or the Discovery Period, if purchased, give written notice to Insurer as
soon as practicable of:

a) adescription of the Wrongful Act allegations anticipated;

b) the identity of the potential claimants;

c) the circumstances by which the Insureds first became aware of the Wrongful Act;
d) the identity of the Insureds allegedly involved;

e) the consequences which have resulted or may result; and

f) the nature of the potential monetary damages and non-monetary relief,

then any Claim made subsequently arising out of such Wrongful Act shall be deemed for the purposes of
this Coverage Section to have been made at the time such written notice was received by the Insurer. No
coverage is provided for fees, expenses and other costs incurred prior to the time such Wrongful Act results
in a Claim.

3. Notice to Insurer shall be given to the address specified in Item G of the Declarations for this Policy.
F. SETTLEMENT AND DEFENSE

1. {t shall be the duty of the Insurer and not the duty of the Insureds to defend any Claim. Such duty shall exist
even if any of the allegations are groundless, false or fraudulent. The Insurer’s duty to defend any Claim
shall cease when the Limits of Liability have been exhausted by the payment of Loss including Costs,
Charges and Expenses.

2. The Insurer may make any investigation it deems necessary and shall have the right to settle any Claim;
provided, however, no settlement shall be made without the consent of the Parent Organization, such
consent not to be unreasonably withheld.

3. The Insureds agree not to settle or offer to settle any Claim, incur any Costs, Charges and Expenses or
otherwise assume any contractual obligation or admit any liability with respect to any Claim without the prior
written consent of the Insurer, such consent not to be unreasonably withheld. The Insurer shall not be liable
for any settlement, Costs, Charges and Expenses, assumed obligation or admission to which it has not
consented. The Insureds shall promptly send to the Insurer all settlement demands or offers received by
any Insured from the claimant(s).

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4. The Insureds agree to provide the Insurer with all information, assistance and cooperation which-the Insurer
reasonably’ requests and agree that, in the event of a Claim, the Insureds will do nothing that shall prejudice
the position of the Insurer or its potential or actual rights of recovery.

5. Ifthe Insurer recommends a settlement within the Policy Limit of Liability which is agreed to by the claimant
. (‘Settlement Opportunity”), and:

a) the Insureds consent to such settlement within 30 days of the date the Insureds are first made
aware of the Settlement Opportunity;

b) such consent occurs within the first 90 days after the Claim is first reported; and
c) such Claim is reported within the first 30 days after it is made,

then, in the event the Claim settles as a result of such Settlement Opportunity, the Retention applicable to
such Claim shall be retroactively reduced by 10% for such Loss. {t shall be a condition to such reduction that
all insureds must consent to such settlement. ,

G. OTHER INSURANCE

1. Except as set forth in Exclusion 8, for any Employment Practices Claim, if any Loss covered under this
Coverage Section is covered under any other valid and collectible insurance, then this Policy shall be primary
insurance; provided that with respect to that portion of an Employment Practice Claim ‘made against any
leased, temporary or independently contracted Employee, Loss, including Costs, Charges and Expenses,
payable on behaif of such Employee under this Coverage Section will be specifically excess of and will not
contribute with such other insurance, including but not limited to any such other insurance under which there
is a duty to defend, unless such insurance is specifically stated to be in excess over the Limit of Liability of
this Coverage Section.

2. For any Third Party Claim, if any Loss covered under this Coverage Section is covered under any other
valid and collectable insurance, then this Policy shall be specifically excess of and will not contribute with
such other insurance, including but not limited to any such other insurance under which there is a duly to
defend, unless such other insurance is specifically stated to be excess over the Limit of Liability of this

Coverage Section.

H, ALLOCATION

if a Claim includes both Loss that is covered under this Policy and loss that is not covered under this Policy,
either because the Claim is made against both Insureds and others, or the Claim includes both covered
allegations and allegations that are not covered, the Insureds and the Insurer shall allocate such amount
between covered Loss (except for Costs, Charges and Expenses) and loss that is not covered based upon the
relative legal and financial exposures and the relative benefits obtained by-the parties. The Insurer shall not be
liable under this Policy for the portion of such amount allocated to non-covered Loss. . °

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Westchester Fire Insurance Company ACE EXPRESS Not-For-Profit
Organization Management Indemnity
Package

Insured Persons and Organization
Coverage Section

In consideration of the payment of premium, in reliance on the Application and subject to the Declarations, and terms
and conditions of this Poticy, the Insurer and the Insureds agree as follows.

A. INSURING CLAUSES

1.

The Insurer shall pay the Loss of the Insured Persons for which the Insured Persons are not indemnified
by the Organization and which the Insured Persons have become legally obligated to pay by reason of a
Claim first made against the Insured Persons during the Policy Period or, if elected, the Extended Period,
and reported to the Insurer pursuant to section E.1 herein, for any Wrongful Act taking place prior to the end
of the Policy Period.

The Insurer shall pay the Loss of the Organization for which the Organization has indemnified the Insured
Persons and which the Insured Persons have become legally obligated to pay by reason of a Claim first
made against the Insured Persons during the Policy Period or, if elected, the Extended Period, and
reported to the Insurer pursuant to section E.1 herein, for any Wrongful Act taking place prior to the end of
the Policy Period.

The Insurer shall pay the Loss of the Organization which the Organization becomes legally obligated to
pay by reason of a Claim first made against the Organization during the Policy Period or, if applicable, the
Extended Period, and reported to the Insurer pursuant to section E.1 herein, for any Wrongful Act taking

‘place prior to the end of the Policy Period.

Special Event Management Coverage

The Insurer shall pay the Special Event Management Expense for which the Organization becomes
legally obligated to pay by reason of a Special Event first occurring during the Policy Period, but only up to
the limit of liability for the Special Event Management Fund.

B. DEFINITIONS

1.

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Adverse Publicity means the publication of unfavorable information regarding the Organization which can

reasonably be considered to materially reduce public confidence in the competence, integrity or viability of the

Organization to conduct business. Such publication must occur in a report about an Insured appearing in:

a) adaily newspaper of general circulation; or

b) aradio or television news program. —

Claim means:

a) awritten demand against any Insured for monetary damages or non-monetary or injunctive relief,

b) awritten demand by one or more of the securities holders of the Organization upon the board of
directors or the management board of the Organization to bring a civil proceeding against any of the

Insured Persons on behalf of the Organization:

c) acivil proceeding against any Insured seeking monetary damages or non-monetary or injunctive relief,
commenced by the service of a complaint or similar pleading;

d) acriminal proceeding against any Insured, commenced by a return of an indictment or similar document,
or receipt or filing of a notice of charges;

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e) an arbitration proceeding against any Insured seeking monetary damages or non-monetary or injunctive
relief,

f} acivil, administrative or regulatory proceeding against any Insured commenced by the filing of a notice of
charges or similar document;

g) acivil, criminal; administrative or regulatory investigation commenced by the service upon or other receipt
by any natural person Insured of a written notice, investigative order, or subpoena from the investigating
authority identifying such natural person Insured as an individual, against whom a proceeding described
in paragraphs c, d or f immediately above may be commenced; or

h) a written request of the Insured to toll or waive a statute of limitations relating to a Claim described in
paragraphs a through g immediately above. :

3. Continuity Date means the date set forth in item C of the Declarations relating to this Coverage Section.

4. Costs, Charges and Expenses means:
-a) reasonable and necessary legal costs, charges, fees and expenses incurred by the Insurer, or by any
Insured with the Insurer’s consent, in defending Claims and the premium for appeal, attachment or

similar bonds arising out of covered judgments, but with no obligation to furnish such bonds and only for
the amount of such judgment that is up to the applicable Limit of Liability; and

b) reasonable and necessary legal costs, charges, fees and expenses incurred by any of the !nsureds in
investigating a written demand, by one or more of the securities holders of the Organization upon the
board of directors or the management board of the Organization, to bring a civil proceeding against any
of the Insured Persons on behalf of the Organization.

Costs, Charges and Expenses do not include salaries, wages, fees, overhead or benefit expenses of or
associated with officers or employees of the Organization or Special Event Management Expenses.

5. Employee means any past, present or future:

a) full-time, part-time, seasonal, or temporary employee of the Organization, other than an Executive, but
only while that person is acting in the capacity as such,

b) person leased to the Organization so long as such person is working solely for the Organization and
only for Conduct within his or her duties, but only if the Organization indemnifies such leased person in
the same manner as the Organization's employees, and

c) volunteer whose labor or services is engaged and directed by the Organization, but only while that
person is acting in the capacity as such.

6. Executive means any past, present or future:

a) duly elected or appointed director, officer, trustee, trustee emeritus, executive director, department head
or committee member (of a duly constituted committee) of the Organization;

b) the functional equivalent of an Executive listed in paragraph a above in the event the Organization is
incorporated or domiciled outside the United States; or

c) General Counsel and Risk Manager (or equivalent position) of the Parent Organization.
7. Excess Benefit means an excess benefit as defined in the Taxpayer Bill of Rights Act 2, 26 U.S.C. 4958.
8. Insured means the Organization and any Insured Person.
9. Insured Person means any:

a) Executive of an Organization;

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b) Employee of an Organization; or
c) Outside Entity Executive.

10. Interrelated Wrongful Acts means all Wrongful Acts that have as a common nexus any fact, circumstance,
situation, event, transaction, cause or series of facts, circumstances, situations, events, transactions or
causes.

11, Loss means damages, judgments, settlements, pre-judgment or post-judgment interest awarded by a court,
and Costs, Charges and Expenses incurred by Insured Persons under Insuring Clauses 1 or 2, or the
Organization under Insuring Clause 3.

Loss also means any Excess Benefits penalty assessed in the amount of 10% by the Internal Revenue
Service (herein known as the "IRS”) against any Insured for management's involvement in the award of an
Excess Benefit and Costs, Charges and Expenses attributable thereto. Provided, however, Loss shall not
include:

i) any 25% penalty assessed by the IRS against an Insured deemed to have received an
Excess Benefit:

ii) Costs, Charges or Expenses incurred to defend an Insured Person if it has been
determined in fact that such Insured Person received an Excess Benefit; or

iii) any 200% penalty assessed by the IRS for failure to correct the award of an Excess Benefit.
Loss does not include:

a) taxes, fines or penalties, except an Excess Benefits penalty as set forth above; ~

b) matters uninsurable under the laws pursuant to which this Policy is construed;

c) punitive or exemplary damages, or the multiple portion of any multiplied damage award, except to the
extent that such punitive or exemplary damages, or multiplied portion of any multiplied damage award are
insurable under the internal laws of any jurisdiction which most favors coverage for such damages and
which has a substantial relationship to the Insureds, Insurer, this Policy or the Claim giving rise to such
damages; °

d) the cost of any remedial, preventative or other non-monetary relief, including without
limitation any costs associated with compliance with any such relief of any kind or nature
imposed by any judgment, settlement or governmental authority;

e) any amount for which the Insured is not financially liable or legally obligated to pay;

f) the costs to modify or adapt any building or property to be accessible or accommodating,
or more accessible or accommodating, to any person; or,

g) Special Event Management Expense.

Subject to the other terms, conditions and exclusions of this Policy, Loss shall also include Costs, Charges
“and Expenses for items specifically excluded from Loss pursuant to (a) through (f) above, including, but not
limited to, Costs, Charges and Expenses incurred in connection with a Tax Claim.

12. Outside Entity means:

a) any non-profit company in which any Insured Person is a director, officer, trustee,
governor, executive director or similar position of such-non-profit company; and

b) any other company specifically identified by endorsement to this Policy.

13. Personal Injury Offense means:

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a) libel, slander, defamation or publication or utterance in violation of an individual's right of privacy;
b) wrongful entry or eviction or other invasion of the right of occupancy; or,

c) false arrest or wrongful detention.

14. Publisher's Liability means any actual or alleged infringement of trademark or copyright, unauthorized use
of title, plagiarism, or misappropriation of ideas.

15. Special Event means one of the following, except where coverage is otherwise excluded under Exclusions
1(b) or (k) of this Coverage Section:

a) The incapacity, death or state or federal criminal indictment of an insured Person for whom the
Organization has purchased and continues to maintain key individual life insurance;

b) The cancellation, withdrawal or revocation of $100,000 or more in funding, donation(s), grant(s) or
bequest(s) by a non-government entity or person to the Organization;

c) The disclosure by the Organization of (1) its intention to file or its actual filing for protection under federal
bankruptcy laws; or, (2) a third-party’s intention to file or its actual filing of an involuntary bankruptcy
petition under federal bankruptcy laws with respect to the Organization; '

d) The disclosure by the Organization of the threatened or actual commencement by a third-party of an
action, audit or investigation alleging a Wrongful Employment Practice (as defined in the Employment
Practices Coverage Section) by the Organization which has caused or is reasonably likely to cause

Adverse Publicity;

e) The commencement or threat of litigation or other proceedings by any governmental or regulatory agency
against an Organization;

f) An accusation that an Insured Person, or an individual for whom an insured is legally responsible for,
has intentionally caused bodily injury to, or death of, or has sexually abused any person in the
performance of his or her duties with the Organization;

g) An Employee of the Organization was the victim of a violent crime while on the premises of the
Organization;

h) Achild was abducted or kidnapped while under the care or supervision of the Organization: or

i) Any other material event which, in the good faith opinion of the Organization, has caused or is.
reasonably likely to result in Adverse Publicity, but only if such material event is scheduled for coverage
by written endorsement to this Policy. ss

16. Special Event Management Expense means the following expenses incurred by the Organization during a
period beginning 90 days prior to and in reasonable anticipation of a Special Event and ending 90 days after
an actual or reasonably anticipated Special Event, irrespective of whether a Claim is actually made with
respect to the subject Special Event; provided, however, that the Insurer must have been notified of the
Special Event Management Expense within 30 days of the date the Organization first incurs the subject
Special Event Management Expense:

a) The reasonable and necessary expenses directly resulting from a Special Event which the Organization
incurs for Special Event Management Services provided to the Organization by a Special Event
Management Firm, and

b) The reasonable and necessary expenses directly resulting from a Special Event which the Organization
incurs for: (a) advertising, printing,.or the mailing of matter relevant to the Special Event, and (b) out of
pocket travel expenses incurred by or on behalf of the Organization or the Special Event Management
Firm; provided, however, Special Event Management Expense does not include those amounts which
otherwise would constitute compensation, benefits, fees, overhead, charges or expenses of an Insured
or any of the Insured’s Employees.

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17.

18.

19.

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21.

Special Event Management Firm means a marketing firm, public relations firm, law firm, or other
professional services entity retained by the Insurer, or by the Organization with the Insurer’s prior written
consent, to perform Special Event Management Services arising from a Special Event.
Special Event Management Fund means the amount set forth in Item H of the Declarations.

Special Event Management Services means the professional services provided by a Special Event
Management Firm in counseling or assisting the Organization in reducing or minimizing the potential harm
to the Organization caused by the public disclosure of a Special Event.

Tax Claim means a Claim seeking an assessment.of taxes, initial taxes, additional taxes, tax deficiencies,
excise taxes or penalties pursuant to the following sections of the Internal Revenue Code of 1986 (as
amended): .

a) Section 4911 (tax on excess expenditures to influence legislation);

b) Section 4940 (a) (tax on net investment income of tax-exempt foundations);

c) Section 4941 (taxes on self-dealing),

d) Section 4942 (taxes on failure to distribute income);

e) Section 4943 (taxes on excess business holding);

f) Section 4944 (taxes on investments which jeopardize charitable purpose);

g) Section 4945 (taxes on taxable expenditures).

h) Section 6652 (c) (1) (A) and (B) (penalties for failure to file certain information returns or registration
statements);

i) Section 6655 (a) (1) (penalties for failure to pay estimated income tax); and
j) Section 6656.(a) and (b) (penalties for failure to make deposit of taxes).

Wrongful Act means any actual or alleged error, omission, misleading statement, misstatement, neglect,
breach of duty, Publishers’ Liability or Personal Injury Offense allegedly committed or attempted by:

a) any Insured Person, while acting in the capacity as such, or any matter claimed against any Insured
Person solely by reason of his or her serving in such capacity;

b) any Insured Person, while acting in the capacity as a director, officer, trustee, governor, executive
director or similar position of any Outside Entity where such service is with the knowledge and consent
of the Organization;

c) the Organization, but only with respect to Insuring Clause 3 of this Coverage Section;

d) with respect to all insureds, subject to 21 a), b) and c) above, Wrongful Act shall specifically include
violations of the Sherman Antitrust Act or similar federal, state or local statutes or rules.

Cc. EXCLUSIONS

1.

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Exclusions Applicable To All Insuring Clauses

Except as limited under insuring Agreement 4, Special Event Management Coverage, the Insurer shall not
be liable for Loss under this Coverage Section on account of any Claim:

a) for actual or alleged bodily injury, sickness, disease, death, false imprisonment, mental anguish,

emotional distress, or damage to or destruction of any tangible or intangible property including loss of use
thereof, whether or not such property is physically injured. .

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b) alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of,
or in any way involving:

(i) any Wrongful Act, fact, circumstance or situation which has been the subject of any written notice
given under any other policy of which this Policy is a renewal or replacement or which it succeeds in
time; or

(ii) any other Wrongful Act, whenever occurring, which together with a Wrongful Act which has been
the subject of such prior notice, would constitute Interrelated Wrongful Acts;

c) alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of,
or in any way involving:

(i) the actual, alleged or threatened discharge, dispersal, release, escape, Seepage, migration or
disposal of Pollutants; or

(ii) any direction or request that any Insured test for, monitor, clean up, remove, contain, treat, detoxify
or neutralize Pollutants, or any voluntary decision to do so;

provided, however, this exclusion shail not apply to any Claim brought directly, derivatively or otherwise
by one or more members of the Organization in their capacity as such, or, except as to Clean Up
Costs, to any Non-Indemnifiable Loss of an Insured Person, or Loss of an Insured Person for which
the Organization does not indemnify such Insured Person because of either the appointment by any
state or federal official, agency or court of any receiver, conservator, liquidator, trustee, rehabilitator or
similar official to take contro! of, supervise, manage or liquidate the Organization, or because of the
Organization becoming a debtor-in-possession. :

For purposes of this exclusion:

Clean Up Costs means expenses, including but not limited to legal and professional fees, incurred in
testing for, monitoring, cleaning up, removing, containing, treating, neutralizing, detoxifying or assessing
the effects of Pollutants; :

Non-Indemnifiable Loss means Loss for which a Organization has not indemnified, and is not
permitted or required to indemnify, an Insured Person pursuant to law or contract or the charter,
bylaws, operating agreement or similar documents of a Organization;

Pollutants means any substance exhibiting any hazardous characteristics as defined by, or identified on,
a list of hazardous substances issued by the United States Environmental Protection Agency or any
federal, state, county, municipal or local counterpart thereof or any foreign equivalent. Such substances
shall include, without limitation, solids, liquids, gaseous, biological, bacterial or thermal irritants,
contaminants or smoke, vapor, soot, fumes, acids, alkalis, chemicals or waste materials (including
materials to be reconditioned, recycled or reclaimed). Pollutants shall also mean any other air emission
or particulate, odor, waste water, oil or oil products, infectious or medical waste, asbestos or asbestos
products, noise, fungus (including mold or mildew and any mycotoxins, spores, scents or byproducts
produced or released by fungi, but does not include any fungi intended by the Insured for consumption)
and electric or magnetic or electromagnetic field;

d) for any actual or alleged violation of the responsibilities, obligations or duties imposed by the Employee
Retirement Income Security Act of 1974, as amended, or any rules or regulations promulgated
thereunder, or similar provisions of any federal, state or local statutory or common law;

e) brought by or on behalf of the Organization against any Insured Person; provided, however, this
exclusion shall not apply to any derivative Claim made on behalf of the Organization by a member, an
attorney general or any other such representative party if such action is brought and maintained totally
independently of and totally without the solicitation, assistance, active participation or intervention of any
Insured Person or the Organization; provided, however, that Whistteblower Conduct by an Insured
Person, other than a director or equivalent position, shall not be considered solicitation, assistance,
active participation, or intervention of an Insured Person.

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Provided further that this exclusion shall not apply to any Claim that is brought or maintained by any
bankruptcy or insolvency trustee or bankruptcy appointed representative of the Organization, or receiver,
examiner, liquidator or similar official for the Organization.

For purposes of this exclusion, Whistleblower Conduct means any of the activity set forth in 18 U.S.C.
Sec. 1514A(a), engaged in by a whistleblower with a federal regulatory or law enforcement agency,
Member of Congress or any committee of Congress, or person with supervisory authority over the
whistleblower, or an enforcement action by the whistleblower set forth in 18 U.S.C. Sec. 1514A (b).

f) alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of,
or in any way involving:

(i) any deliberately fraudulent or criminal act of an Insured; provided, however this exclusion f)(i) shall
not apply unless and until there is a final adjudication against such Insured as to such conduct; or

(ii) the gaining of any profit, remuneration or financial advantage to which any Insured Person was not
legally entitled; provided, however this exclusion f)(ii) shall not apply unless and until there is a final
adjudication against such Insured Person as to such conduct.

“ g) for the return by any Insured Person of any remuneration paid to him or her without the previous
approval of the appropriate governing body of the Organization or Outside Entity, which payment
without such previous approval shall be held to be in violation of law;

h) .against any Insured Person of any Subsidiary or against any Subsidiary alleging, based upon, arising
out of, attributable to, directly or indirectly resulting from, in consequence of, or in any way involving any
Wrongful Act actually or allegedly committed or attempted by a Subsidiary or Insured Person thereof,
before the date such entity became a Subsidiary or after the date such entity ceased to be a Subsidiary;

i) alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of,
or in any way involving any Wrongful Act actually or allegedly committed subsequent to a Takeover,

j) for a Wrongful Act actually or allegedly committed or attempted by any Insured Person in his or her
capacity as a director, officer, trustee, manager, member of the board of managers or equivalent
executive of a limited liability company or employee of, or independent contractor for or in any other
capacity or position with any entity other than the Organization; provided, however, that this exclusion
shall not apply to Loss resulting from any such Claim to the extent that:

(i) such Claim is based on the service of any Insured Person as a director, officer, trustee, governor,
executive director or similar position of any Outside Entity where such service is with the knowledge ;
and consent of the Organization; and

(ii) such Outside Entity is not permitted or required by law to provide indemnification to such Insured
Person; and

(iil) such Loss is.not covered by insurance provided by any of the Outside Entity’s insurer(s):

“k) alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of,
or in any way involving:

{i) any prior or pending litigation or administrative or regulatory proceeding, demand letter or formal or
informal governmental investigation or inquiry filed or pending on or before the Continuity Date; or

(ii) any fact, circumstance, situation, transaction or event underlying or alleged in such litigation or
administrative or regulatory proceeding, demand letter or formal or informal governmental
investigation or inquiry;

) alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of,
or in any way involving:

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(i) improper payroll deductions, unpaid wages or other compensation, misclassification of employee
status, or any violation of any law, rule or regulation, or amendments thereto, that governs the same
topic or subject; or

. (ii) any other employment or employment-related matters brought by or on behalf of or in the right of
an applicant for employment with the Organization, or any Insured Person, including any voluntary,
seasonal, temporary, leased or independently-contracted employee of the Organization;

m). alleging, arising out of, or in any way relating to any purchase or sale of securities by the Parent
Organization, Subsidiary, or Outside Entity or Claims brought by securities holders of an
Organization or Outside Entity in their capacity as such, provided, however, this exclusion shall not
apply to the issuance by an Organization of bond debt or Claims brought by bond debt holders;

n) for that portion of Loss which is covered under any other Coverage Section of this Policy.
2. Exclusions Applicable Only To Insuring Clause A3
Insurer shall not be liable for Loss on account of any Claim:

a) alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of,
or in any way involving the actual or alleged breach of any contract or agreement, except and to the
extent the Organization would have been liable in the absence of such contract or agreement, or

b) alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of,
or in any way involving, any infringement, misappropriation or violation of any patent, service marks, trade
secrets, title or other proprietary or licensing rights or intellectual property of any products, technologies or
services.

No Wrongful Act of one or more insureds shall be imputed to any other Insureds for the purpose of determining the
applicability of any of the above exclusions.

D. LIMIT OF LIABILITY AND RETENTIONS

1. The liability of the Insurer shall apply only to that part of Loss which is excess of the Retention amounts
applicable to this Coverage Section, as shown in Item C of the Declarations. Such Retentions shall be borne
uninsured by the Insureds and at their own risk. If different parts of a single Claim are subject to different
applicable Retentions under this Coverage Section, the applicable Retentions will be applied separately to
each part of such Loss, but the sum of such Retentions shall not exceed the largest applicable Retention.

2. As shown in Item C.1 of the Declarations relating to this Coverage Section, the following Limits of Liability of
the Insurer shall apply:

a) The amount set forth in ttem C.1.a relating to this Coverage Section shall be the aggregate limit of liability
for the payment of Loss under all insuring Clauses for this Coverage Section, subject to additional
payments for Loss under Insuring Clause A1 as further described in paragraph 2b) immediately below.

b) The amount set forth in Item C.1.b of the Declarations relating to this Coverage Section shall be the ~
aggregate limit of liability for the payment of Loss under Insuring Clause A11 in addition to the limit
described in paragraph 2a) immediately above; provided, all payments for Loss under the additional limit
described in this paragraph 2b) shall be excess of the limit described in paragraph 2a) above, and excess
of any other available insurance that is specifically excess to this Policy. Such excess insurance must be
completely and fully exhausted through the payment of loss, including but not limited to defense costs
thereunder, before the Insurer shall have any obligations to make any payments under the additional limit
described in this paragraph 2b). . .

c) The amount set forth in Item C.1.c of the Declarations relating to this Coverage Section shall be the
maximum aggregate limit of liability for the payment of Loss under all Insuring Clauses for this Coverage
Section. The limits of liability set forth in C.1.a and C.1.b relating to this Coverage Section shall be a part
of and not in addition to the maximum aggregate limit of liability set forth in Item C.1.c for this Coverage
Section. ,
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3. All Claims arising out of the same Wrongful Act and all interrelated Wrongful Acts shall be deemed to
constitute a single Claim and shall be deemed to have been made at the earliest of the following times,
regardless of whether such date is before or during the Policy Period:

a) the time at which the earliest Claim involving the same Wrongful Act or Interrelated Wrongful Act is
first made; or

. b) the time at which the Claim involving the same Wrongful Act or Interrelated Wrongful Acts shall be
deemed to have been made pursuant to Section E.2, below.

4. The Retention applicable to Insuring Clause A.2 shall apply to Loss resulting from any Claim if
indemnification for the Claim by the Organization is required or permitted by applicable law, to the fullest
extent so required or permitted, regardless of whether or not such actual indemnification by the Organization
is made, except and to the extent such indemnification is not made by the Organization solely by reason of
the Organization’s financial insoivency.

5. Payments of Loss by Insurer shall reduce the Limit(s) of Liability under this Coverage Section. Costs,
Charges and Expenses are part of, and not in addition to, the Limits of Liability and payment of Costs,
Charges and Expenses reduces the Limits of Liability. If such Limit(s) of Liability are exhausted by payment
of Loss, the obligations of the Insurer under this Coverage Section are completely fulfilled and extinguished.

6. The Special Event Management Fund is the Insurer’s maximum liability for all Special Event Management
Expenses arising from any and all Special Events occurring during the Policy Period. This limit shall be the
Insurer’s maximum liability under this Policy regardless of the number of Special Events reported during the
Policy Period. The Insurer’s obligation to pay Special Event Management Expenses terminates and ends
upon the exhaustion of the Special Event Management Fund. The Special Event Management Fund
shall be in addition to the aggregate Limit of Liability set forth in Item H of the Declarations.

E. SPECIAL EVENT MANAGEMENT COVERAGE PROVISIONS

1. There shall be no Retention applicable to Special Event Management Expenses and the Insurer shall pay
such Special Event Management Expenses from the first dollar subject to all other terms and conditions of
this Policy, including the Policy Simit.

2. An actual or anticipated Special Event shal! be reported to the Insurer as soon as practicable, but in no
event later than 30 days after the Organization first incurs Special Event Management Expenses for which
_ coverage will be requested under this Policy.

F. NOTIFICATION
For coverage under this Policy (other than coverage for a Special Event):

1. The insureds shall, as a condition precedent to their rights to payment under this Coverage Section only,
give Insurer written notice of any Claim as soon as practicable after the Organization’s general counsel,
risk manager, chief executive officer or chief financial officer (or equivalent positions) first becomes aware of
such Claim, but in no event later than 60 days after the end of the Policy Period, or respecting any Claim
first made against the Insureds during the Extended Period, if purchased, 60 days after the end of the
Extended Period.

2. If, during the Policy Period or the Discovery Period, if purchased, any of the Insureds first becomes aware
of facts or circumstances which may reasonably give rise to a future Claim covered under this Policy, and if
the Insureds, during the Policy Period or the Discovery Period, if purchased, give written notice to Insurer
as soon as practicable of:

a) a description of the Wrongful Act allegations anticipated;
b) the identity of the potential claimants:
c) the circumstances by which the Insureds first became aware of the Wrongful Act;

PF-28102 (09/09 . " ;
(999) Case 5:20-cv-00672-BO Documene Sh Filed 12/14/20 Page 52 of 111 Paseo"!
d) the identity of the Insureds allegedly involved;
e) the consequences which have resulted or may result; and
f) the nature of the potential monetary damages and non-monetary relief,

then any Claim made subsequently arising out of such Wrongful Act shall be deemed for the purposes of
this Coverage Section to have been made at the time such notice was received by the Insurer. No coverage
is provided for fees, expenses and other costs incurred prior to the time such Wrongful Act results in a

Claim.

3. Notice to Insurer shall be given to the address shown under Item G of the Declarations for this Policy.

G. SETTLEMENT AND DEFENSE

1. It shall be the duty of the Insurer and not the duty of the Insureds to defend any Claim. Such duty shall exist
even if any of the allegations are groundless, false or fraudulent. The Insurer’s duty to defend any Claim
’ shall cease when the Limits of Liability have been exhausted by the payment of Loss including Costs,
Charges and Expenses.

2. The Insurer may make any investigation it deems necessary, and shall have the right to settle any Claim;
provided, however, no settlement shall be made without the consent of the Parent Organization, such
consent not to be unreasonably withheld.

3. The Insureds agree not to settle or offer to settle any Claim, incur any Costs, Charges and Expenses or
otherwise assume any contractual obligation or admit any liability with respect to any Claim without the prior
written consent of the Insurer, such consent not to be unreasonably withheld. The Insurer shall not.be liable
for any settlement, Costs, Charges and Expenses, assumed obligation or admission to which it has not
consented. The Insureds shall promptly send to the Insurer all settlement demands or offers received by any
Insured from the claimant(s).

4. The Insureds agree to provide the Insurer with all information, assistance and cooperation — which the
Insurer reasonably requests and agree that, in the event of a Claim, the Insureds _will do nothing that
shall prejudice. the position of the Insurer or its potential or actual rights of
recovery.

5. If the Insurer recommends a settlement within the Policy Limit of Liability which is agreed to by the claimant
("Settlement Opportunity”), and:

a) the Insureds consent to such settlement within 30 days of the date the Insureds are first made aware of ©
the Settlement Opportunity; and

b) such consent occurs within the first 90 days after the Claim is first reported; and

c) such Claim is reported within the first 30 days after it is made,

then, in the event the Claim settles as a result of such Settlement Opportunity, the Retention applicable to
such Claim shall be reduced by 10% for such Claim. It shall be a condition to such reduction that all
Insureds must consent to such settlement.

H. OTHER INSURANCE

if any Loss covered under this Coverage Section is covered under any other valid and collectible insurance, then
this Policy shall cover the Loss, subject to its terms and conditions, only to the extent that the amount of the

Loss is in excess of the amount of such other insurance whether such other insurance is stated to be. primary,
contributory, excess, contingent or otherwise, unless such other insurance is written only as specific excess
insurance over the Limit of Liability for this Coverage Section.

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Case 5:20-cv-00672-BO Document 1-1 Filed 12/14/20 Page 53 of 111
|. PAYMENT PRIORITY

1. If the amount of any Loss which is otherwise due and owing by the Insurer exceeds the then-remaining Limit
of Liability applicable to the Loss, the Insurer shall pay the Loss, subject to such Limit of Liability, in the
following priority:

a)

b)

first, the Insurer shall pay any Loss covered under Insuring Clause A1, in excess of any applicable
Retention shown in Item C of the Declarations; and

second, only if and to the extent the payment under paragraph 1.a above does not exhaust the applicable
Limit of Liability, the Insurer shall pay any Loss in excess of the Retention shown in Item C of the

‘Declarations covered under any other applicable Insuring Clause.

Subject to the foregoing subsection, the Insurer shall, upon receipt of a written request from the Chief
Executive Officer of the Parent Organization, delay any payment of Loss otherwise due and owing to or
on behalf of the Organization until such time as the Chief Executive Officer of the Parent Organization
designates, provided the liability of the Insurer with respect to any such delayed Loss payment shall not
be increased, and shall not include any interest, on account of such delay.

J. ALLOCATION

If a Claim includes both Loss that is covered under this Policy and loss that is not covered under this Policy,
either because the Claim is made against both Insureds and others, or the Claim includes both covered
allegations and allegations that are not covered, the Insureds and the Insurer shall allocate such amount
between covered Loss (except for Costs, Charges and Expenses) and loss that is not covered based upon the
relative egal and financial exposures and the relative benefits obtained by the parties. The insurer shall not be
liable under this Policy for the portion of such amount allocated to non-covered Loss,

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THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 

 

Named tnsured Endorsement Number

Duke University . 002

Policy Symbol Policy Number Policy Period Effective Date of Endorsement
DON G27543406 001 01/01/2015 to 01/01/2016 01/01/2015

 

 

 

 

 

issued By (Name of Insurance Company)
Westchester Fire Insurance Company

 

 

Cap On Losses From Certified Acts Of Terrorism

it is agreed that the Limit(s) of Liability section is amended by adding the following:

Notwithstanding anything in this Policy to the contrary, if aggregate insured losses attributable to terrorist acts
certified under the federal Terrorism Risk Insurance Act exceed $100 billion in a Program Year (January 1 through
December 31) and the Insurer has met its deductible under the Terrorism Risk Insurance Act, the Insurer shall not

be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case
insured losses up to that amount are subject to pro rata allocation in accordance with procedures established by the

Secretary of the Treasury.

“Certified act of terrorism” means an act that is certified by the Secretary of the Treasury, in concurrence with the
Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal

_ Terrorism Risk Insurance Act. The criteria contained in the Terrorism Risk Insurance’ Act for a “certified act of

terrorism” include the following:

4. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance
subject to the Terrorism Risk Insurance Act; and .

2. The actis a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
individual or individuals as part of an effort to coerce the civilian population of the United States or to influence the
policy or affect the conduct of the United States Government by coercion.

All other terms and conditions of this Policy remain unchanged.

 

Authorized Representative

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PROFESSIONAL SERVICES ERRORS AND OMISSIONS EXCLUSIONS

 

 

Named Insured Endorsement Number

Duke University 003

Paticy Symbol Policy Number Policy Period Effective Date of Endorsement
DON G27543406 001 01/01/2015 to 01/01/2016 01/01/2015

 

 

 

 

Issued By (Name of Insurance Company)

Westchester Fire Insurance Company

 

 

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

ACE EXPRESS NOT-FOR-PROFIT ORGANIZATION MANAGEMENT INDEMNITY POLICY

It is agreed that Section C, Exclusions, of the Insured Persons and Organization Coverage Section, subsection 1,

Exclusions Applicable To All Insuring Clauses, is amended to add the following:

| alleging, based upon, arising out of, or attributable to, directly or indirectly resulting from, in consequence of,

or in any way involving the rendering or failure to render professional services.

All other terms and conditions of this Policy remain unchanged.

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Authorized Representative

Page 1 of 1

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AMENDATORY ENDORSEMENT — NORTH CAROLINA

 

 

 

Named Insured Endorsement Number

Duke University 004

Policy Symbol Policy Number Policy Period Effective Date of Endorsement
DON G27543406 001 01/01/2015 to 01/01/2016 01/01/2015

 

 

 

 

Issued By (Name of Insurance Company)
Westchester Fire Insurance Company

 

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

ACE EXPRESS NOT-FOR-PROFIT ORGANIZATION MANAGEMENT INDEMNITY PACKAGE

IF THERE IS ANY CONFLICT BETWEEN THE POLICY, OTHER ENDORSEMENTS TO THE POLICY AND THIS
ENDORSEMENT, THE TERMS PROVIDING THE BROADEST COVERAGE INSURABLE UNDER APPLICABLE LAW

SHALL PREVAIL. ,

It is agreed that:
4. The definition of Application in Section B, DEFINITIONS, of the General Terms and Conditions, is amended by
deleting the last sentence in its entirety and inserting the following:

The Application shall be physically attached to the Policy and is deemed incorporated into this Policy.

2. Section D, WARRANTY AND NON-RESCINDABILITY, of the General Termis and Conditions, is deleted in its entirety
and the following is inserted: ,

D. REPRESENTATIONS AND NON-RESCINDABILITY

It is represented that the particulars and statements contained in the Application are the basis of this Policy
and are to be considered as incorporated into and constituting a part of this Policy and each Coverage Section.
By acceptance of this Policy, the Insureds agree that the statements in the Application are their
representations, that such representations shall be deemed material to the acceptance of the risk or the hazard
assumed by Insurer under this Policy, and that this Policy and each Coverage Section are issued in reliance
upon the truth of such representations.

For purposes of this Section, the knowledge of a natural person insured shall not be imputed to any other
natural person Insured, and the knowledge of only the chief executive officer, chief financial officer, and general
counsel (and additionally, with respect to the Fiduciary Coverage Section, the Application signatory), or

equivalent positions, shall be imputed to an entity Insured. ;

This Policy and any Coverage Sections shall not be rescinded by the Insurer in whole or in part for any reason.

3. Section E, CANCELLATION, of the General Terms and Conditions, is amended to add the following:

« Notice of cancellation from the Insurer will state the effective date of cancellation and the reason(s) for
cancellation, and will be mailed by certified mail to the Parent Organization, and by first-class mail to the
agent or broker of record, at the last mailing addresses known to the Insurer. Proof of mailing will be
sufficient proof of notice.

4. Section H, DISCOVERY PERIOD, of the General Terms and Conditions, is amended as follows:
1. The phrase “for reasons other than non-payment of premium” is deleted from the first sentence.

2. Paragraph 4 is deleted in its entirety and the following is inserted:

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The Discovery Period, if purchased, shall reinstate the full amount of the Limit of Liability shown in Item C
of the Declarations for the immediately preceding Policy Period for the time purchased (hereinafter referred
to as “Discovery Period Limit"). The Discovery Period Limit shall only be available to pay Loss for
Claims first made against the Insured and reported to the Insurer during the Discovery Period and only
for Wrongful Acts that occurred prior to the end of the preceding Policy Period (hereinafter referred to as
“Discovery Period Loss”). The maximum liability for all Discovery Period Loss is the Discovery Period
Limit.

Section J, ALTERNATIVE DISPUTE RESOLUTION, of the General Terms and Conditions, is amended by deleting
the last paragraph in its entirety and inserting following:

’

Either ADR process will take place In the county and state in which the Insured is located unless an alternate
location is mutually agreed upon by the insured and the Insurer. The Parent Organization shail act of behalf of
each and every Insured in connection with any ADR process under this section,

6. The following section is added to the Policy: °

« NONRENEWAL

1.

If the Insurer decides not to renew this Policy, it will mail to the Parent Organization shown in the

Declarations written notice of the nonrenewal at least 45 days before the: ’

* expiration of the Policy, if this Policy has been written for 1 year or less; or

* anniversary date of the Policy, if this Policy has been written for more than 1 year or for an indefinite
term.

The Insurer need not mail the notice of nonrenewal if the Insured has:
= insured elsewhere;

«accepted replacement coverage; or

« requested or agreed to nonrenewal of this Policy.

The written notice of termination or nonrenewal will state the reasons for nonrenewal and will be mailed to the
Parent Organization and any designated mortgagee or loss payee at their addresses shown in the Policy, or
if not indicated in the Policy, at their last known addresses. Proof of mailing will be sufficient proof of notice.

All other terms and conditions of this Policy remain unchanged.

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Authorized Representative

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FAILURE TO MAINTAIN INSURANCE EXCLUSION

 

 

 

Named Insured : Endorsement Number

Duke University 005

Policy Symbol Policy Number . Policy Period Effective Date of Endorsement
DON G27543406 001 01/01/2015 to 01/01/2016 01/01/2015

 

 

 

Issued By (Name of Insurance Company)
Westchester Fire Insurance Company

 

 

 

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

ACE EXPRESS NOT-FOR-PROFIT ORGANIZATION MANAGEMENT INDEMNITY PACKAGE

It is agreed that Section C, Exclusions, subsection 1, Exclusions Applicable to All Insuring Clauses, of the Insured
Persons and Organization Coverage Section, Section C, Exclusions, of the Employment Practices Liability Coverage
Section; and Section C, Exclusions, subsection 1, of the Fiduciary Coverage Section, is amended to add the following:

* ajlleging, based upon, arising out of, or attributable to the failure or omission of any Insured to obtain, effect or

maintain any or adequate insurance or an adequate bond, or to comply with the terms of any insurance policy
or bond. Provided, however, this exclusion shall not apply to Costs, Charges and Expenses.

All other terms and conditions of this Policy remain unchanged.

 

Authorized Representative
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CAPTIVE EXCLUSION

 

 

Named insured Endorsement Number

Duke University 006

Policy Symbol Policy Number Policy Period Effective Date of Endorsement
DON G27543406 001 01/01/2015 te 01/01/2016 01/01/2015

 

 

 

 

 

 

 

Issued By (Name of Insurance Company)
Westchester Fire Insurance Company

 

 

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

ACE EXPRESS NOT-FOR-PROFIT ORGANIZATION MANAGEMENT INDEMNITY POLICY

It is agreed that Section C, Exclusions, subsection 1, Exclusions Applicable to All Insuring Clauses, of the Insured
Persons and Organization Coverage Section, is amended to add the following: ,

» Captive Insurance Company

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alleging, based upon, arising out of, or attributable to any actual or alleged ownership, management,
maintenance, operation and/or control by the Insured of any captive insurance company or entity, including but
not limited to any Claims alleging the insolvency or bankruptcy of the Insured as a result of such ownership, .
operation, management and control. .

All other terms and conditions of this Policy remain unchanged.

 

Authorized Representative ‘

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*
WAGE AND HOUR — COSTS, CHARGES AND EXPENSES
SUBLIMIT COVERAGE ONLY WITH SEPARATE RETENTION

 

 

Named Insured Endorsement Number

Duke University 007

Policy Symbol Policy Number Policy Period Effective Date of Endorsement
DON G27543406 001 01/01/2015 to 01/01/2016 01/01/2015

 

 

 

 

Issued By (Name of Insurance Company)
Westchester Fire Insurance Company

 

 

 

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

ACE EXPRESS NOT-FOR-PROFIT ORGANIZATION MANAGEMENT INDEMNITY POLICY

It is agreed that the Employment Practices Liability Coverage Section is amended as follows:

item C of the Declarations, section 2, Retention, of the portion entitled Employment Practices Liability, is deleted in its
entirety and the following is inserted: .

2. Retention:

$1,000,000 each Employment Practices Claim not alleging, based upon, arising out of, attributable to,
directly or indirectly resulting from, in consequence of, or in any way involving Wage and Hour Claim

$1,000,000 each Employment Practices Claim alleging, based upon, arising out of, attributable to, directly
or indirectly resulting from, in consequence of, or in any way involving, in whole or in part, a Wage and Hour

Claim

$1,000,000 each Third Party Claim

2. Section A, Insuring Clauses, subsection 1, Employee Insuring Clause, is amended to add the following:

The Insurer shall pay the Costs, Charges and Expenses of the Insureds which the Insureds have become
legally obligated to pay by reason of a Wage and Hour Claim first made against the Insureds during the Policy
Period or, if elected, the Extended Period, and reported to the Insurer pursuant to subsection E1 herein, for any
Employment Practices Wrongful Act taking place prior to the end of the Policy Period. The maximum limit of the
insurer's liability for all Costs, Charges and Expenses in the aggregate arising from all such Wage and Hour
Claims shall be $100,000 ("Wage and Hour Claim Sub-Limit of Liability”). The Wage and Hour Claim Sub-
Limit of Liability shall be part of and not in addition to the applicable aggregate Limit of Liability stated in the
Declarations, and will in no way serve to increase such Limit of Liability. .

This Policy shall not afford any coverage for Loss arising out of any Wage and Hour Claim, or attributable solely
to any actual or alleged violation of any Wage and Hour Law(s), other than Costs, Charges and Expenses.

3. Section B, Definitions, subsection 6, Employment Practices Wrongful Act, is amended to add the following:

Solely with respect to a Wage and Hour Claim, Employment Practices Wrongful Act also means (i) violation of
any Wage and Hour Law; or (ii) improper payroll deductions, failure to pay wages, misclassification of exempt or
non-exempt employee status, failure to pay compensation earned by or due to the claimant (including but not
limited to commission, vacation and sick days, retirement benefits, and severance pay), failure to pay overtime pay
for hours actually worked or labor actually performed, or any violation of any law, rule or regulation, or amendments
thereto (whether statutory or common law, or otherwise), that governs the same topic or subject.

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4. The last sentence of Section C, Exclusions, subsection 3, is deleted in its entirety and the following is inserted:

Provided, however, this exclusion does not apply to:

1.
2.
3

any back-pay or front-pay allegedly due as the result of discrimination, or

that part of any such Claim alleging Retaliation, or,

Costs, Charges and Expenses arising from a Wage and Hour Claim, subject to the Wage and Hour Claim
Sub-Limit of Liability, except for: (i) any Claim alleging, based upon, arising out of, attributable to, directly or
indirectly resulting from, in consequence of, or in any way involving any violation of any California or Florida
state or local Wage and Hour Law; or (ii) any Claim which is brought or made in California or Florida
alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of, or
in any way involving any violation of any Wage and Hour Law.

°5. Section B, Definitions, is amended to add the following:

Wage and Hour Claim means any Claim alleging, based upon, arising out of, attributable to, directly or
indirectly resulting from, in consequence of, or in any way involving: (i) any violation of any Wage and Hour
Law; and/or (ii) improper payroll deductions, unpaid wages, misclassification of exempt or non-exempt
employee status, compensation earned by or due to the claimant but not paid (including but not limited to
commission, vacation and sick days, retirement benefits, and severance pay), overtime pay for hours actually
worked or labor actually performed, or any violation of any law, rule or regulation, or amendments thereto
(whether statutory or common law, or otherwise), that governs the same topic or subject.

Wage and Hour Law means: (i) the Fair Labor Standards Act (except the Equal Pay Act), as amended, or any
rules or regulations promulgated thereunder, or similar provisions of any common or statutory federal, state,
local or foreign law, or amendments thereto; and/or (ii) any law, rule or regulation, or amendments thereto
(whether statutory or common law, or otherwise) governing or relating to: (a) the payment of wages, including
payment of unpaid salary, hourly pay, on-call time and overtime pay; and/or (b) the classification of employees
for purposes of determining employees’ eligibility for compensation under such jaw, rules or regulations.

6. Solely with respect to a Wage and Hour Claim, Section F, Settlement and Defense, subsections 1 and 5, are each
deleted in their entirety and the following is inserted:

1.

It shail be the duty of the Insureds and not the duty of the Insurer to defend any Claim. The Insurer shail have
the right and shall be given the opportunity to effectively associate with the Insureds regarding the defense and
negotiation of any settlement of any Claim.

If the Insurer recommends a settlement within the Policy Limit of Liability which is acceptable to the claimant,
but the Insureds do not consent to such settlement within thirty (30) days of the date the Insureds are first
made aware of the potential settlement, the Insurer’s liability for all Loss on account of such Claim shall not
exceed: (i) the amount for which the Insurer could have settled such Claim plus Costs, Charges and
Expenses incurred as of the date the potential settlement was proposed in writing by the Insurer to the
Insureds; and (ii) 80% of all subsequent covered Loss in excess of such amount, the remaining 20% of which
shall be borne by the Insureds uninsured and at their own risk.

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7. Solely with respect to a Wage and Hour Claim, Section H, Allocation, is deleted in its entirety and the following is
inserted:

{fa Claim includes both Loss that is covered under this Policy and loss that is not covered under this Policy, either

_because the Claim is made against both Insureds and others, or the Claim includes both covered allegations and

allegations that are not covered, the Insureds and the Insurer shall allocate such amount between covered Loss

and loss that is not covered based upon the relative legal and financial exposures and the relative benefits obtained
by the parties. The Insurer shall not be liable under this Policy for the portion of such amount allocated to non-

covered Loss.

All other terms and conditions of this Policy remain unchanged.

 

Authorized Representative

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SPECIFIED MATTER EXCLUSION

 

 

 

Named Insured — Endorsement Number |
Duke University . 008

Policy Symbol Policy Number Policy Period Effective Date of Endorsement
DON G27543406 001 01/01/2015 to 01/01/2016 01/01/2015

 

 

 

 

{ssued By (Name of Insurance Company)
Westchester Fire Insurance Company

 

 

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:
ACE EXPRESS PRIVATE COMPANY MANAGEMENT INDEMNITY POLICY

It is agreed that Section C, Exclusions, subsection 1, Exclusions Applicable to All Insuring Clauses, of the Directors &
Officers and Company Coverage Section (if purchased), Section C, Exclusions, of the Employment Practices Coverage
Section (if purchased), and Section C, Exclusions, of the Fiduciary Coverage Section (if purchased), are each amended to
add the following: \

The Insurer shall not be liable for Loss under this Coverage Section on account of any Claim alleging, based upon,

arising out of, attributabie to, directly or indirectly resulting from, in consequence of, or in any way involving:

1. any Wrongful Act, fact, circumstance, or situation underlying or alleged in the following specified matter(s), or

2. any other Wrongful Act “whenever occurring which, together with a Wrongful Act underlying or alleged in the
following specified matter(s), would constitute Interrelated Wrongful Acts:

Specified Matter(s)
Prior claims excluded under AiG Policy #310-57-90

Ail other terms and conditions of this Policy remain unchanged.

 

Authorized Representative

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AMEND CONDUCT EXCLUSION — FINAL — NON-APPEALABLE — DO EPL

 

Named Insured Endorsement Number

Duke University 009
Policy Symbol Policy Number . Policy Period Effective Date of Endarsement

DON G27543406 001 01/01/2015 to 01/01/2016 ~ | 01/01/2015

Issued By (Name of Insurance Company}
Westchester Fire Insurance Company

 

 

 

 

 

 

 

 

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:
ACE EXPRESS NOT-FOR-PROFIT ORGANIZATION MANAGEMENT INDEMNITY POLICY
it is agreed that the Policy is amended to add the following: ,

1. Section C, Exclusions, subsection 1, Exclusions Applicable to Ali Insuring Clauses, paragraph (f), of the Insured
Persons & Organization Coverage Section, is deleted in its entirety and the following is inserted:

f) alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of, o
in any way involving: .

(i) any deliberately fraudulent or criminal act of an Insured; provided, however this exclusion f)(i) shall not
apply unless and until there is a final, non-appealable adjudication in an underlying action against such
Insured as to such conduct, or .

(ii) the gaining of any profit, remuneration or financial advantage to which any Insured Persons were not
legally entitled; provided, however this exclusion f)(ii) shall not apply unless and until there is a final,
non-appealable adjudication in an underlying action against such Insured Persons as to such conduct.

2. Section C, Exclusions, subsection 5, of the Employment Practices Liability Coverage Section, is deleted in its
entirety and the following is inserted:

5. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of,
or in any way involving any deliberately fraudulent or criminal act; provided, however, this exclusion shall
not apply unless and until there is a final, non-appealable adjudication in an underlying action against such
Insured as to such conduct.

All other terms and conditions of this Policy remain unchanged.

 

Authorized Representative
PF-38943 (08/12) ©2012 kee , Page 1 of 1
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Case 5:20-cv-00672-BO Document 1-1 Filed 12/14/20 Page 65 of 111
NOTICE — GC/RM — 60 DAYS — D&O/EPL

 

 

 

 

Named Insured < Endorsement Number

Duke University 010

Policy Symbol! Policy Number Policy Period . Effective Date of Endorsement
DON G27543406 001 01/01/2015 to 01/01/2016 01/01/2015

 

 

 

 

Issued By (Name of Insurance Company}
Westchester Fire Insurance Company

 

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

ACE EXPRESS NOT-FOR-PROFIT ORGANIZATION MANAGEMENT INDEMNITY POLICY

It is agreed that Section F, Notification, subsection 1, of the Insured Persons and Organization Coverage Section
and Section E, Notification, subsection 1, of the Employment Practices Liability Coverage Sections, are each
deleted in their entirety and the following is inserted:

1. The insureds shall, as a condition precedent to their rights to payment under this Coverage Section only,
give to Insurer written notice of any Claim made against the Insureds as soon as practicable after the
Organization’s general counsel or risk manager (or equivalent positions) first becomes aware of such
Claim, but in no event later than sixty (60) days after the end of the Policy Period, or respecting any
Claim first made against the Insureds during the Extended Period, if purchased, sixty (60) days after
the end of the Extended Period.

All other terms and conditions of this Policy remain unchanged.

 

Authorized Representative

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PF-39068 (09/12) ; © 2012 Page 1 of 1
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Case 5:20-cv-00672-BO Document 1-1 Filed 12/14/20 Page 66 of 111

 
OPTIONAL DUTY TO DEFEND — D&O AND EPL

 

 

 

Named Insured Endorsement Number

Duke University 011

Policy Symbol Policy Number Policy Period Effective Date of Endorsement
DON G27543406 004 01/01/2015 to 01/01/2016 01/01/2015

 

 

 

issued By (Name of Insurance Company)
Westchester Fire Insurance Company

 

 

 

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

ACE EXPRESS® NOT-FOR-PROFIT ORGANIZATION MANAGEMENT INDEMNITY POLICY

It is agreed that the Policy is amended as follows:

1. Section G, Settlement And Defense, of the insured Persons and Organization Coverage Section and
Section F, Settlement And Defense, of the Employment Practices Liability Coverage Sections, are deleted

in their entirety and the following is inserted:

SETTLEMENT AND DEFENSE

1. It shall be the duty of the Insureds and not the duty of the Insurer to defend any Claim. However,
the insureds shall have the right to tender the defense of a covered ‘Claim to the Insurer, The
insureds, as a condition precedent to their right to tender the defense of a covered Claim, must
provide written notice of the exercise of this right to the Insurer within thirty (30) days of the date
such Claim is first made against the Insureds. The right to exercise this tender of defense shall
terminate if written notice to the Insurer is not given within such period. Provided that the
foregoing notice provision has been satisfied, the Insurer shall assume the defense of such Claim
even if the any of the allegations-are groundless, false or fraudulent.

2. The insureds agree not to settle or offer to settle any Claim, incur any Costs, Charges and
Expenses or otherwise assume any contractual obligation or admit any liability with respect to any
Claim without the prior written consent of the Insurer, such consent not to be unreasonably
withheld. The Insurer shall not be liable for any settlement, Costs, Charges and Expenses,
assumed obligation or admission to which it has not consented. The Insureds shall promptly send
to the Insurer all settlement demands or offers received by any Insured from the claimant(s).

3. The Insurer shall have the right and shall be given the opportunity to effectively associate with,
and shall be consulted in advance by, the Insureds regarding the defense and negotiation of any
settlement of any Claim. :

4. The Insureds agree to provide the Insurer with all information, assistance and cooperation which
the Insurer reasonably requests and agree that, in the event of a Claim, the Insureds will do
nothing that shall prejudice the position of the Insurer or its potential or actual rights of recovery.
The Insurer may make any investigation it deems necessary.

2. Section F, Settlement And Defense, of the Employment Practices Liability Coverage Section, is amended
to add the following:

5. |f the Insurer recommends a settlement within the.Policy Limit of Liability which is acceptable to the
claimant, but the Insureds do not consent to such settlement within 30 days of the date the
insureds are first made aware of the potential settlement, the Insurer’s liability for all Loss on

PF-38330a (04/13) , © 2013 ee Page 1 of 2
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account of such Claim shall not exceed: (i) the amount for which the Insurer could have settled
such Claim plus Costs, Charges and Expenses, incurred as of the date the potential settlement
was proposed in writing by the Insurer to the Insureds; and, (ii) 80% of all subsequent covered
Loss in excess of such amount, the remaining 20% of which shall be borne by the Insureds
uninsured and at their own risk.

— 3. Section J, Allocation, of the Insured Persons and Organization Coverage Section and Section H, Allocation
of the Employment Practices Liability Coverage. Section, are deleted in their entirety and the following is
inserted: .

ALLOCATION

lf the Insured has the duty to defend a Claim:

If an Insured who is afforded coverage for a Claim includes both Loss that is covered under this
Policy and loss that is not covered under this Policy, because the Claim includes both covered
allegations and allegations that are not covered, the insureds and the Insurer shall allocate such
amount between covered Loss and loss that is not covered based upon the relative legal and financial
exposures and the relative benefits obtained by the parties. The Insurer shall not be liable .under this
Policy for the portion of such amount allocated to non-covered Loss.

If there is an agreement on an allocation of Costs, Charges and Expenses, the Insurer shall advance,
on a quarterly basis, Costs, Charges and Expenses allocated to Loss. If there can be no agreement
on an allocation of Costs, Charges and Expenses, the Insurer shall advance on a quarterly basis

- Costs, Charges and Expenses which the Insurer believes to be covered under this Policy until a
different allocation is negotiated, arbitrated or judicially determined.

Any negotiated, arbitrated or judicially determined allocation of Costs, Charges and Expenses on
account of any Claim shall be applied retroactively to all Costs, Charges and Expenses on account of
the Claim, notwithstanding any prior advancement to the contrary. Any allocation or advancement of
Costs, Charges and Expenses on account of any Claim shall not apply to or create any presumption
with respect to the allocation of other Loss on account of the Claim or any other Claim.

If the Insurer has the duty to defend a Claim:

{f an Insured who is afforded coverage for a Claim includes both Loss that is covered under this
Policy and loss that is not covered under this Policy, because the Ctaim includes both covered
allegations and allegations that are not covered, the Insureds and the Insurer shall allocate such
amount between covered Loss (except for Costs, Charges and Expenses) and loss that is not
covered based upon the relative legal and financial exposures and the relative benefits obtained by the
parties. The Insurer shall not be liable under this Policy for the portion of such amount allocated to
non-covered Loss.

All other terms and conditions of this Policy remain unchanged.

 

Authorized Representative

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SPECIFIED PARTY EXCLUSION

 

 

Named Insured Endorsement Number
Duke University . 012

Policy Symbol Policy Number Policy Period ‘ Effective Date of Endorsement
DON G27543406 001 01/01/2015 to 01/01/2016 01/01/2015

 

 

 

 

Issued By (Name of Insurance Company)
Westchester Fire Insurance Company

 

 

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

ACE EXPRESS NOT-FOR-PROFIT ORGANIZATION MANAGEMENT INDEMNITY POLICY

{t is agreed that Section C, Exclusions, subsection 1, Exclusions Applicable to All Insuring Clauses, of the Insured
Persons and Organization Coverage Section and Section C, ‘Exclusions, of the Employment Practices Liability
Coverage Section, are each amended to add the following:

e alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of,
in any way involving any Wrongful Act of, or any fact, circumstance, or situation relating or pertaining to,
brought or maintained by, or on behalf of, or in the name or right of, or against the following in any
capacity:

Duke Endowment including any subsidiary or affiliate thereof

All other terms and conditions of this Policy remain unchanged.

 

/ Authorized Representative

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ADDITIONAL AFFILIATES

 

 

Named Insured Endorsement Nurnber

Duke University , » 1013

Policy Symbol Policy Number Policy Period Effective Date of Endorsement
DON G27543406 001 01/01/2015 to 01/01/2016 01/01/2015

 

 

 

 

 

issued By (Name of Insurance Company)
Westchester Fire Insurance Company

 

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

ACE EXPRESS NOT-FOR-PROFIT ORGANIZATION MANAGEMENT INDEMNITY POLICY

It is agreed that the Policy is amended as follows:

4.. The General Terms and Conditions section is amended as follows: -

a. Section B, Definitions, is amended to include the following:

Affiliate means any organization, other than a Subsidiary that, on or before the inception
date of the Policy, the Parent Organization or any Subsidiary thereof both controls or
otherwise has the ability to direct the financial or managerial decisions of such entity,
whether through operation of law, stock ownership or membership, charter, by-laws,
articles of incorporation, contract or agreement and has agreed to indemnify the Insured
Persons of such Affiliate. The Organization shall be conclusively deemed to have
indemnified the Insured Persons of such Affiliate to the maximum extent that the
Organization is permitted or required to provide such indemnification pursuant to law,
common or statutory, or contract or by the charter, by-laws, operating agreement or similar
documents of the Organization which are hereby deemed to incorporate, for the purposes
of this Policy, the broadest provisions of the law which determines or defines such rights of
indemnity. The Organization hereby agrees to indemnify the Insured Persons of such
Affiliate to the fullest extent permitted by law, including tt the making in good faith of any
required application for court approval.

 

b. Section B, Definitions, subsection 6, Organization, is amended by adding the following at the end

thereof.

Organization also means any Affiliate.

c. Section |, Run-Off Coverage and Termination of a Subsidiary, subsection 2, is deleted in its entirety
and the following is inserted:

2.

If before or during the Policy Period an organization ceases to be a Subsidiary or an
Affiliate, coverage with respect fo such Subsidiary and its natural person Insureds
thereof, or to such Affiliate and its natural person insureds thereof, shall continue until
termination of this Policy. Such coverage continuation shall apply only with respect to
Claims for Wrongful Acts, or Employment Practices Wrongful Acts, taking place prior
to the date such organization ceased to be a Subsidiary or an Affiliate.

2. Section C, Exclusions, subsection 1, Exclusions Applicable to All Insuring Clauses, of the Insured
Persons and Organization Coverage Section, is amended to add the following:

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‘alleging, arising out of, or in any way relating to any purchase or sale of securities by an Affiliate

or Claims brought by securities holders of an Affiliate in their capacity as such;

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©2015 ka Page 1 of 2

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* against any Insured Person of any Affiliate, or against any Affiliate, alleging, based upon,
arising out of, attributable to, directly or indirectly resulting from, in consequence of, or in any way
involving any Wrongful Act actually or allegedly committed or attempted by an Affiliate or
Insured Person thereof, before the date such entity became an Affiliate or after the date such
entity ceased to be an Affiliate; ‘

3. Section C, Exclusions, of the Employment Practices Liability Coverage Section, is amended to add the
following:

e against any Insured Person of any Affiliate, or against any Affiliate, alleging, based upon,
arising out of, attributable to, directly or indirectly resulting from, in consequence of, or in any
way invoiving any Wrongful Act actually or allegedly committed or attempted by an Affiliate or
Insured Person thereof, before the date such entity became an Affiliate or after the date such
entity ceased to be an Affiliate;

All other terms and conditions of this Policy remain unchanged.

 

Authorized Representative

MS-35925 (01/15) ©2015 kad . Page 2 of 2

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EMPLOYED LAWYERS PROFESSIONAL LIABILITY

 

 

 

Named Insured Endorsement Number

Duke University . 014

Policy Symbol! Policy Number Policy Period Effective Date of Endorsement
DON G27543406 001 . 01/01/2015 to 01/01/2016 01/01/2015

 

 

 

 

 

issued By (Name of insurance Company)
Westchester Fire Insurance Company

 

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

ACE EXPRESS NOT-FOR-PROFIT ORGANIZATION MANAGEMENT INDEMNITY POLICY

itis agreed that Insured Persons and Organization Coverage Section is amended as follows:

1. Section A, Insuring Clauses, is amended to add the following:

5. Employed Lawyers Professional Liability (Individual)

The Insurer shall pay the Loss of the Employed Lawyer for which the Employed Lawyer is legally
obligated to pay by reason of a Claim first made against the Employed Lawyer during the Policy Period

or,

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if elected, the Extended Period, and reported to the Insurer pursuant to subsection F1 herein, for any
rongful Act taking place prior to the end of the Policy Period. Coverage as is afforded under this

Insuring Agreement 5 shall apply only if one or more Insureds, other than an Employed Lawyer, remain
a co-defendant in the Claim with the Employed Lawyer. However:

1.

The Organization agrees to indemnify the Employed Lawyer to the fullest extent permitted by law,
taking all steps necessary or advisable in furtherance thereof, including the making in good faith of
any application for court approval, the passing of any resolution by the board of directors or
shareholders of the Organization, the amendment of any charter, bylaws, operating agreement or
similar documents of the Organization or the execution of any contract. The Organization further
agrees fo advance Costs, Charges and Expenses actually and reasonably incurred by any
Employed Lawyer in defending any threatened, pending or contemplated action, suit or proceeding
prior to a final disposition of any such action, suit or proceeding and shall not require any
determination or adjudication, interim or final, of the entitlement of the Employed Lawyer to
indemnification, where permitted by law to do so. The financial ability of any Employed Lawyer to
make repayment shall not be a prerequisite to the making of such an advance, and the right to
receive advancement of Costs, Charges and Expenses herein is a contractual right. The
agreements contained in this paragraph are binding upon the Organization and enforceable by the
Insurer or the Employed Lawyer.

Coverage as is afforded under this Insuring Agreement 5 is specifically excess over any other valid or
collectible lawyers’ professional fiability insurance, legal malpractice or errors and omissions
insurance, including, but not limited to: Atlantic Specialty Insurance Co. (One Beacon) policy number
EML-00757-14, EML-00961-15, and shall only drop down and be primary insurance only in the event
of exhaustion of such other insurance due to losses paid hereunder.

2. Subsection B, Definitions, is amended to add the following:

Employed Lawyer means any employee of the. Organization who is admitted to practice law and
who is employed, or was employed at the time of the alleged Wrongful Act, as a lawyer full-time for
and salaried by the Organization.

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3, Subsection B, Definitions, is amended as follows:

a. Subsection 3, Continuity Date, is amended to add the following:

Continuity Date means for each Employed Lawyer the later of 12/04/2006 or the first date such person
became an Employed Lawyer for the Organization;

b. Subsection 6, Executive, subsection c, is deleted in its entirety and the following is inserted

Executive, solely for purposes of coverage under Insuring Agreement 5, means only any Employed
Lawyer, but only for Wrongful Acts in such Employed Lawyer’s capacity as such.

c. Subsection 21, Wrongful Act, is amended to add the following:

Wrongful Act, solely for purposes of coverage under Insuring Agreement 5, means only any act, error or
omission of an Employed Lawyer in rendering or failure to render professional legal services for the
Organization, but solely in his or her capacity as such. Provided, however, the term Wrongful Act shall
not mean any act, error or omission in connection with any activities by such Employed Lawyer: (a)
which are not related to such Employed Lawyer’s employment with the Organization, (b) which are not
rendered on the behalf of the Organization at the Organization’s written request, or (c) which are
performed by the Employed Lawyer for others for a fee.

Section C, Exclusions, is amended to add the following:

Exclusions Applicable to Insuring Clause 5:

alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of,
or in any way involving any Wrongful Act occurring, in whole or in part, at a time when the Employed
Lawyer was not employed as a lawyer by the Organization;

alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of,
or in any way involving any Wrongful Act if, as of the Continuity Date, an Employed Lawyer knew or
could have reasonably foreseen that any part of such Wrongful Act could give rise to a Claim;

alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in consequence of,
or in any way involving any activities by an Employed Lawyer for, on behalf of, or as an officer or director
of any entity other than the Organization.

That portion of Item C of the Declarations, subsection 2, of the portion entitled Insured Persons and
Organization is amended to add the following:

$250,000 each Claim under Insuring Clause 5

 

6. Section D, Limit Of Liability And Retentions, is amended to add the following:

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The maximum aggregate liability of the Insurer for all Loss resulting from all Claims, combined, covered
under Insuring Clause 5, Employed Lawyers Professional Liability, shall be $2,000,000 (hereinafter
known as the Employed Lawyers Sub-limit of Liability), The Employed Lawyers Sub-limit of
Liability shall be part of and not in addition to the Limit(s) of Liability stated in the Declarations and will in
no way serve to increase the Insurer’s Limit(s) of Liability as therein provided.

 

All other terms and conditions of this Policy remain unchanged.

 

Authorized Representative

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Case 5:20-cv-00672-BO Document 1-1 Filed 12/14/20 Page 73 of 111
HUMAN CLINICAL TRIAL EXCLUSION WITH A-SIDE CARVEBACK — D&O

 

 

Named Insured Endorsement Number

Duke University 015

Policy Symbot Policy Number Policy Period Effective Date of Endorsement
DON G27543406 001 01/01/2015 te 01/01/2016 01/01/2015

 

 

 

 

 

Issued By (Name of Insurance Company)
Westchester Fire Insurance Cormpany

 

 

 

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

NOT-FOR-PROFIT COMPANY MANAGEMENT LIABILITY POLICY

It is agreed that Section C, Exclusions, subsection 1, Exclusions Applicable To All Insuring Clauses, of the Insured
. Persons and Organization Coverage Section, is amended to add the following:

alleging, based upon, arising out of, or attributable to any Human Clinical Trial; provided, however that
the foregoing exclusion shall not apply to any Non-indemnifiable Loss of any Insured Person, other than
Non-Indemnifiable Loss arising out of any Claim, or that portion of any Claim, for bodily injury, sickness,
disease or death of any person, or damage to or destruction of any tangible property, including the Joss of
use thereof.

Any coverage afforded by the carve-back ta the foregoing exclusion is subject to all the terms, conditions
and exclusions of the Policy, and shall be specifically excess of any professional liability or errors and
omissions insurance or any other insurance providing coverage for such Claims, whether such insurance is
stated to be primary, contributory, excess, contingent or otherwise, unless such other insurance is written
only as specific excess insurance over the Limit of Liability provided by this Policy.

Solely for purposes of this exclusion endorsement, the following definitions shall apply:

1. Human Clinical Trial shall mean any study utilizing humans to provide clinical data for the
assessment of a medical treatment, procedure or pharmaceutical.

2. Non-Indemnifiable Loss means Loss for which the Company has neither indemnified nor is
permitted or required to indernnify an Insured Person, pursuant to law or contract or the charter,
bylaws, operating agreement or similar documents of the Company.

For the purposes of determining whether Loss constitutes Non-Indemnifiable Loss, the Company
will be conclusively deemed to have’ indemnified the Insured Person to the maximum extent that the
Company is permitted or required to grant such indemnification pursuant to law or contract or the -
charter, bylaws, operating agreement or similar documents of the Company, which are hereby deemed
to adopt the broadest provisions of the law which determines or defines such rights of indemnity. The
Company hereby agrees to indemnify the Insured Person to the fullest extent permitted by law
including the making in good faith of any required application for court approval.

All other terms and conditions of this Policy remain unchanged.

MS-35927

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OUTSIDE ENTITY EXCLUSION — AMENDED — D&O

 

Named Insured Endorsement Number

Duke University. 016

 

Policy Symbol Policy Nurnber Policy Period Effective Date of Endorsement
DON G27543406 001 01/01/2015 to 01/01/2016 01/01/2015

 

 

 

 

issued By (Name of Insurance Company)
Westchester Fire Insurance Company

 

 

 

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:
ACE EXPRESS NOT-FOR-PROFIT ORGANIZATION MANAGEMENT INDEMNITY POLICY
| itis agreed that Section C., Exclusions, subsection 1,- Exclusions Applicable To All Insuring Clauses, paragraph j) (i), of
the Insured Persons and Organization Coverage Section, is deleted in its entirety and replaced with the following:
(i) Such Claim is based on the service of any Insured Person as a director, officer, trustee, governor,
executive director or similar position of any Outside Entity where such service is with the knowledge and

consent of the Organization. In the event of a dispute between the Organization and Insured Person over
whether the Organization requested or directed such service, the Insurer shall act in accordance with the

decision of the Organization.

All other terms and conditions of this Policy remain unchanged.

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Case 5:20-cv-00672-BO .Document 1-1 Filed 12/14/20 Page 75 of 111
DEFINITION OF CLAIM — AMENDED — D&O/EPL

 

 

 

 

 

 

Named Insured , Endorsement Number

Duke University 017

Policy Symbol Policy Number Policy Period Effective Date of Endorsement
DON G27543406 001 01/01/2015 ~— to 01/01/2016 01/01/2015

 

 

 

 

 

 

 

issued By (Name of Insurance Company)
Westchester Fire Insurance Company

 

 

 

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

ACE EXPRESS NOT-FOR-PROFIT ORGANIZATION MANAGEMENT INDEMNITY POLICY

Itis agreed that the Policy is amended as follows:

1.

Section B, Definitions, subsection 2, Claim, of the Insured Persons and Organization Coverage Section,

is amended to add following:

« Claim also means a written demand from, or on behalf of, a potential claimant that states such
claimant's intention to bring a civil or criminal proceeding against an Insured and requests that an.
insured take a specified measure or measures in ariticipation of such proceeding, including retaining
or preserving documents or emails.

Section B, Definitions, subsection 5, Employment Practices Claim, of the Employment Practice Liability
Coverage Section, is amended to add the following:

e Employment Practices Claim also means a written demand from, or on’be half of, a p otential
claimant that states such claimant's intention to bring acivil or criminal proceeding against an
Insured and requests that an tnsured take a specified measure or measures in anticipation of such
proceeding, including retaining or preserving documents or emails.

Section B, Definitions, subsection 14, Third Party Claim, of the Employment Practice Liability Coverage
Section, is amended to add the following:

e Third Party Claim also means a written demand from, or on behalf of, a potential claimant that states
such claimant's intention to bring a civil or criminal proceeding against an Insured and requests that
an Insured take as pecified measure or measures in anticipation of such proceeding, including
retaining or preserving documents or emails.

All other terms and conditions of this Policy remain unchanged.

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Authorized Representative

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HEALTH CARE / EDUCATION COVERAGE EXTENSION
ANTI-TRUST CO-INSURANCE

 

 

Named Insured Endorsement Number

Duke University 018

Policy Symbol Policy Number Policy Period Effective Date of Endorsement
DON G27543406 001 01/01/2015 to 01/01/2016 01/01/2015 ‘

 

 

 

 

 

Issued By (Name of Insurance Company)
Westchester Fire Insurance Company

 

 

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THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE FOLLOWING:

ACE EXPRESS NOT-FOR-PROFIT ORGANIZATION MANAGEMENT INDEMNITY POLICY

_ Itis agreed that the Policy is amended as follows:

A. The Insured Persons And Organization Coverage Section is amended as follows:

1. Section B, Definitions, subsection 2, Claim, is amended to add the following:

Claim also means a civil lawsuit alleging a violation pursuant to the Emergency Medical Treatment
and Active Labor Act (“EMTALA”), 42 U.S.C., 1396dd et seq., and any similar state or local statute

("EMTALA Claim’).

2. Section B, Definitions, subsection 9, Insured Person, is amended to add the following:

Insured Person also means any person who was, now is or shail become any member of the
faculty, student teacher or teaching assistant; any Employee or Executive who is a representative
of an educational association of which the Organization is a member, any president, regent,
chancellor, provost, treasurer, vice-president, dean, personnel director, governor, executive director,
risk manager, university counsel, or other comparable senior administrator of the Organization,
regardless of whether they are considered an employee of the Organization or as an independent °
contractor; any administrator, sub-board member, association member, member manager or alumni
council member of the Organization; students working on behalf of the Parent Organization while
serving in a supervised internship program in satisfaction of course requirements, or while acting at
the direction of, or performing services for or on behalf of the Parent Organization; any member of
any duly constituted committee of the Organization; any individual person engaged by a duly
constituted committee of the Organization for purposes of providing an expert opinion with regard to
a peer review or credentialing decision concerning an individual physician; any individual in charge
of any operational department of the Organization; or, any medical director, staff physician or
faculty member of the Organization, regardless of whether or not such person is directly employed
by the Organization or is considered an independent contractor for the Organization.

3. Section B, Definitions, subsection 11, Loss, is amended to add the following:

Loss also means the following:

EMTALA Coverage

Notwithstanding any other provisions in this definition of Loss to the contrary, Loss shall.also
include civil fines and penalties assessed pursuant to an EMTALA Claim. However, a sublimit of

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Case 5:20-cv-00672-BO Document 1-1 Filed 12/14/20 Page 77 of 111
liability in the amount of $250,000 shall apply to all EMTALA Claims made and reported during
the Policy Period or Extended Reporting Period (if applicable) combined (“EMTALA Sublimit
of Liability"). The EMTALA Sublimit of Liability shall be part of and not in addition to the
aggregate Limit of Liability stated in Item C, and the aggregate Limit of Liability stated in Item
C.1.c. of the Declarations for this Coverage Section.

Government Funding Defense Costs

Loss shall not include the return of funds which were received directly or indirectly from any
federal, state or local governmental agency and any interest, fines or penaities arising out of the
return of such funds. Provided, however, that with regard to Claims for any actual or alleged
violation of the Federal False Claims Act or any similar federal, state, or local statutory law or
common law anywhere in the world, this Policy shall pay Costs, Charges, and Expenses up to
an amount not to exceed $1,000,000 ("Government Funding Sublimit of Liability’). The
Government Funding Sublimit of Liability shalt be part of and not in addition to the applicable
aggregate Limit of Liability set forth in the Declarations. However, it is agreed that the Insurer
shall pay 50% of such Costs, Charges, and Expenses, excess of a retention in the amount of
$1,000,000, up to the Government Funding Sublimit of Liability, and subject to the applicable
aggregate Limit of Liability set forth in the Declarations. The remaining 50% of such Costs,
Charges, and Expenses shall be borne by the Insureds uninsured and at their own risk.

4. Section B, Definitions, subsection 21, Wrongful Act, paragraph d, is deleted in its entirety and the
following is inserted:

Wrongful Act shall also include any defects in peer review, credentialing or the tenure process,
including the denial or removal of tenure, educational malpractice or failure to educate, negligent
instruction, failure to supervise, inadequate or negligent academic guidance or counseling,
improper or inappropriate academic placement or discipline, failure to grant due process, invasion
of privacy or humiliation, including violation of the Buckley Amendment or the “Uniform Student
Freedom of Expression Act" if adopted by any applicable jurisdiction, or the publication of
defamatory material in a book, newspaper or other publication of the Organization, or the
broadcast of defamatory material over a radio, cable or television station owned or operated by the
Organization.

5. Section B, Definitions, is amended to add the following:

« Anti-Trust Claim means any Claim alleging, based upon, arising out of, attributable to, directly or
indirectly resulting from, in consequence of, or in any way involving price fixing, restraint of trade,
monopolization, unfair trade practices or other violation of the Federal Trade Commission Act, the
Sherman Anti-Trust Act, the Clayton Act, or any other federal statutory provision involving anti-trust,
monopoly, price fixing, price discrimination, predatory pricing or restraint of trade activities, and any
amendments thereto or any rules or regulations promulgated thereunder or in connection with such
statutes, or any similar provision of any federal, state, or local statutory law or common law
anywhere in the world.

6. Section C, Exclusions, subsection 1, Exclusions Applicable To All Insuring Clauses, paragraph (a), is
deleted in its entirety and the following is inserted:

e alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
consequence of, or in any way involving bodily injury, sickness, disease, death, mental anguish,
emotional distress, invasion of privacy, or damage to or destruction of any tangible or intangible
property including loss of use thereof, whether or not such property is physically injured,

* alleging, based upon, arising out of, or attributable to, directly or indirectly resulting from, in
consequence of, or in any way involving the Insured’s performance or rendering of or failure to

MS-35930 (01/15)

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perform or render any medica! or other professional services or treatments for others, including
the improper billing or collection of fees for such services or treatments. However, this exclusion
shall not apply to the provision of or failure to provide educational services by an Insured;

« alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
consequence of, or in any way involving:

othe failure by the Insured to properly handle, manage, store, destroy or otherwise control
confidential corporate or personally identifiable information, or any violation of a state,
federal, and foreign identity theft and privacy protection legislation that requires
commercial entities that collect personal information fo post privacy policies, adopt
specific privacy or security controls, or notify individuals in the event that personal
information has potentially been compromised;

o a failure in network security; including but not limited to activities performed by the
insured to protect against unauthorized access to, unauthorized use of, a denial of
service attack directed against, or transmission of malicious code to the Insured‘s

computer system; or

o the unauthorized or surreptitious collection of information by the Organization or the
failure to provide adequate notice that such information is being collected.

7. The following is added:
Anti-Trust Coverage Co-Insurance

After satisfaction of the applicable retention, the Insureds shall bear uninsured and at their own risk
20% of all Loss incurred in a Claim alleging or arising out of an Anti-Trust Claim, and the Insurer’s
liability hereunder shall apply only to the remaining 80% of such Loss.

B. The Employment Practices Liability Coverage Section is amended as follows:
4. Section B, Definitions, subsection 4, Employee, is amended to add the following:

Employee also means any person who was, now is or shall become any member of the faculty,
student teacher or teaching assistant; any employee or executive who is a representative of an
educational association of which the Organization is a member; any president, regent, chancellor,
provost, treasurer, vice-president, dean, personnel director, governor, executive director, risk
manager, university counsel, or other comparable senior administrator of the Organization,
regardless of whether they are considered an employee of the Organization or as an independent
contractor; any administrator, association member, member manager or alumni council member of
the Organization; students working on behalf of the Parent Organization while serving in a
supervised internship program in satisfaction of course requirements, or while acting at the direction
of, or performing services for or on behalf of the Parent Organization; any member of any duly
constituted committee of the Organization; any individual person engaged by a duly constituted
committee of the Organization for purposes of providing an expert opinion with regard to a peer
review or credentialing decision concerning an individual physician, any individual in charge of any
operational department of the Organization; or, any: medical director, staff physician or faculty
member of the Organization, regardless of whether or not such person is directly employed by the
Organization or is considered an independent contractor for the Organization.

2. Section B, Definitions, subsection 6, Emptoyment Practices Wrongful Act, is amended to add the
following: ,

MS-35930 (01/15) ©2015 Page 3 of 4
Case 5:20-cv-00672-BO Document 1-1 Filed 12/14/20 Page 79 of 111
Employment Practices Wrongful Act shall also include any defects in-physician credentialing,
peer review, or tenure process, including the denial or removal of tenure, failure to grant due
process, invasion of privacy or humiliation.

3. Section C, Exclusions, subsection 1, is deleted in its entirety and the following is inserted:

1. alleging, based upon, arising out of, attributable to, directly or indirectly resulting from, in
consequence of, or in any way involving bodily injury, sickness, disease, death, invasion of
privacy, or damage to or destruction of any tangible or intangible property including loss of
use thereof, whether or not such property is physically injured,

C. Section C, Limits of Liability, Retentions And Deductibles, subsection 3, of the General Terms and Conditions, ~
is deleted in its entirety and the following is inserted:

3. In the event that any Claim is covered, in whole or in part, under two or more Insuring Clauses or more

_ than one Coverage Section, the total applicable Retention or Deductible shall not exceed the single

largest applicable Retention or Deductible and such Retention or Deductible shall apply to ail Loss
covered under this Policy. ,

All other terms and conditions of this Policy remain unchanged.

 

Authorized Representative

MS-35930 (01/15)

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Case 5:20-cv-00672-BO Document 1-1 Filed 12/14/20 Page 80 of 111 9°44
DISCLOSURE PURSUANT TO TERRORISM RISK

 

 

 

INSURANCE ACT
Named Insured Endorsement Number
Duke University 019
Policy Symbol Policy Number Policy Period Effective Date of Endorsement
DON G27543406 001 01/01/2015 to 01/01/2016 01/01/2015

 

 

 

 

Issued By (Name of Insurance Company)
Westchester Fire Insurance Company

 

insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of the policy.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Disclosure Of Premium

In accordance with the federal Terrorism Risk Insurance Act, we are required to provide you with a notice disclosing the
portion of your premium, if any, attributable to coverage for terrorist acts certified under the Terrorism Risk Insurance Act.
The portion of your premium attributable to such coverage is shawn in this endorsement or in the policy Declarations.

Disclosure Of Federal Participation In Payment Of Terrorism Losses

The United States Government, Department of the Treasury, will pay a share of terrorism losses insured under the federal
program. The federal share equals 85% of that portion of the amount of such insured losses that exceeds the applicable
insurer retention. However, if aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk
Insurance Act exceed $100 billion in a Program Year (January 1 through December 31), the Treasury shall not make any
payment for any portion of the amount of such losses that exceeds $100 billion.

Cap On Insurer Participation In Payment Of Terrorism Losses

If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk Insurance Act exceed $100
billion in a Program Year (January 1 through December 31) and we have met our insurer deductible under the Terrorism
Risk Insurance Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100.
billion, and in such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures
established by the Secretary of the Treasury. :

We are providing you with the terrorism coverage required by the Act. We have not established a separate price for this
coverage; however the portion of your annual premium that is reasonably attributable to such coverage is: $0.

 

Authorized Agent

TRIA12b (01/08) , . Page 1 of 1
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ACE Producer Compensation
Practices & Policies

ACE believes that policyholders. should have access to information about ACE's practices and policies related to the
payment of compensation to brokers and independent agents. You can obtain that information by accessing our website
at http:/Awww.aceproducercompensation.com or by calling the following toll-free telephone number: 1-866-512-2862.

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ALL-20887 (10/06)
Case 5:20-cv-00672:-BO Document 1-1 Filed 12/14/20 Page 82 of 111
TRADE OR ECONOMIC SANCTIONS ENDORSEMENT

 

 

 

 

 

 

 

Named Insured . Endorsement Number

Duke University 020

Policy Symbol Policy Number Policy Period Effective Date of Endorsement
DON G27543406 001 01/01/2015 to 01/01/2016 01/01/2015

Issued By (Name of Insurance Company)
Westchester Fire Insurance Company

 

 

Insert the policy number. The remainder of the information is to be completed only when this endorsement is issued subsequent to the preparation of the policy.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This insurance does not apply to the extent that trade or economic sanctions or other laws or regulations prohibit us from
providing insurance, including, but not limited to, the payment of claims. All other terms and conditions of policy remain

unchanged.

 

Authorized Agent

ALL-21101 (11/08) Ptd. in U.S.A. Page 1 of 1
Case 5:20-cv-00672-BO. Document 1-1 ° Filed 12/14/20 Page’ 83 of 111
IL P 004 01 04

U. S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
ASSETS CONTROL ("OFAC")
ADVISORY NOTICE TO POLICYHOLDERS

No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your policy. You
should read your policy and review your Declarations page for complete information on the coverages you are provided.

This Notice provides information concerning possible impact on your insurance coverage due to directives issued by
OFAC. Please read this Notice carefully.

The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of "national emergency". OFAC has identified and listed numerous:

@ Foreign agents;

@ Front organizations;

@ Terrorists;

@ Terrorist organizations; and -
@ Narcotics traffickers;

as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States Treasury's web
site — http/Awww.treas.gov/ofac.

In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or‘entity claiming the
benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked Person, as
identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this insurance are
immediately subject to OFAC. When an insurance policy is considered to be such a blocked or frozen contract, no
payments nor premium refunds may be made without authorization from OFAC. Other limitations on the premiums and
payments also apply.

IL P 001 01 04 © ISO Properties, Inc., 2004 Page 1 of 1

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EXHIBIT 2

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ENDURANCE RISK SOLUTIONS ASSURANCE CO.

Policy No. EXC10006230100
Renewal of: New

COMMERCIAL EXCESS LIABILITY DECLARATIONS PAGE

 

 

 

1. NAMED INSURED AND ADDRESS: 2 POLICY PERIOD:
Duke University - 440 12:01 a.m. Standard Time at the address of the
(Per Underlying Insurance) Insured shown at the left
324 Blackwell Street From: 01/01/2015 To: 01/01/2016
Durham, NC 27710
{N RETURN FOR PAYMENT OF THE PRODUCER'S NAME AND ADDRESS:
PREMIUM AND SUBJECT TO ALL TERMS Risk PlacServ-CA-Los Angeles
OF THIS POLICY, WE AGREE WITH YOU . 5670 Wilshire Blvd, Suite 1200
TO PROVIDE THE INSURANCE AS STATED Los Angeles, CA 90036
IN THIS POLICY. .
3. PREMIUM: Total Advance Premium $ 50,000
Service Charge —- $
Surcharge/Taxes $
Total $ 50,000

BASIS OF PREMIUM: Non-Auditable

In the event of cancellation by the Named Insured, the company will receive arid retain no less than $0.00
as a policy minimum premium.

 

4. LIMITS OF INSURANCE: $25,000,000 EACH OCCURRENCE

 

$ 25,000,000 | AGGREGATE LIMIT (Where Applicable)
These Limits of Insurance apply in excess of the “underlying limits of insurance” indicated in Item 5. of .
the Declarations, e
5. UNDERLYING [NSURANCE: See attached schedule

 

6. FORMS AND ENDORSEMENTS applicable to all Coverage Forms and made part of this policy at
time of issue are listed on the attached Forms and Endorsements Schedule, EXL 0101.

Authorized Representative

 

ISSUING OFFICE:

725 South Figueroa St.
Suite 2100

Los Angeles CA 90017

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Endurance Risk Solutions Assurance Co. EXL 0001 0110
FORMS AND ENDORSEMENT SCHEDULE

It is hereby understood and agreed the following forms and endorsements are attached to and are a part of

this policy:

 

Form Number

Form Name

 

EXL 0001 0110

Excess Declarations

 

 

 

 

 

 

 

 

 

 

 

 

EXL 1302 0610 Claim Notice

EXL 0102 0110 Schedule of Underlying Policies

EXL 6001 0813 Absolute Asbestos Exclusion

EXL 6066 0813 Nuclear Energy Liability Exclusion

EXL 0516 0610 Exclusion - Violation of Information Statutes
EXL 0562 0110 War Liability Exclusion

EXL 0538 0813 Following Form Pollution Exclusion

EXL 0513 0110 Lead Exclusion

EXL 0509 0110 Mold Exclusion

EXL 6088 0813 Silica or Mixed Dust Exclusion

EXL 1323 0610 Sub-Limited Coverage Exclusion

EXL 0537 0110 Uninsured / Underinsured Motorist Exclusion

 

EXL 1121 0710

North Carolina Changes

 

EXL 0910 0813

North Carolina Changes - Cancellation Non-Renewal

 

EXL 1001 0606

Claims Made Coverage Endorsement (As Respects Educators Legal
Liability)

 

EXL 0203 0813

Excess Liability Coverage Follow Form (Short Form)

 

IL 1007 0114

Signature Page

 

 

PN 0001 0407

 

OFAC Policyholder Notice

 

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CLAIM NOTICE

THIS ENDORSEMENT CHANGES THE POLICY, PLEASE READ I(T CAREFULLY.

In the event of claim to which this policy may apply, please give immediate notice in any of the following
ways, to:

U.S. Insurance — Claims

750 Third Avenue

New York, NY 10017 .
E-Mail addressed to: eclaims(@enhinsurance.com

E-mail is the preferred method of receiving claim notice information, but any of the above methods of
notification will generate an acknowledgement of receipt of claim with a claim number and all of the

claim adjusters’ contact information.

Endurance Risk Solutions Assurance Co. Page | of | EXL 1302 0610

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SCHEDULE OF UNDERLYING POLICIES

Carrier, Policy Number and

Period ’ Type of Coverage Limits of Insurance

United Educators Insurance Excess $40,000,000 Each Occurrence a

Company $40,000,000 General Aggregate in excess of Primary
Policy No.: On File with

Company

01/01/2015 - 01/01/2016

Allied World National Excess $10,000,000 Each Occurrence

Assurance Company $10,000,000 General Aggregate in excess of $40,000,000
Policy No.: On File with

Company

01/01/2015 - 01/01/2016

Great American Assurance Excess $25,000,000 Each Occurrence

Company $25,000,000 General Aggregate in excess of $50,000,000
Policy No.: On File with '

Company

01/01/2015 - 01/01/2016

Westchester Fire Insurance Excess $10,000,000 Aggregate for all loss

Company $10,000,000 Maximum Aggregate Excess of $1,000,000
Policy No.: On File with ,

Company

01/01/2015 — 01/01/2016

RSUL Excess $10,000,000 Aggregate Limit of Liability

Policy No.: On File with Excess of $10,000,000

Company .

01/01/2015 — 01/01/2016

Endurance Risk Solutions Assurance Co. -EXL 0102 0110-

Case 5:20-cv-00672-BO Document 1-1 Filed 12/14/20’ Page 89 of 111 -
ABSOLUTE ASBESTOS EXCLUSION
THIS ENDORSEMENT CHANGES THE POLICY, PLEASE READ IT CAREFULLY.

This insurance does not apply to:

Any liability, including, but not limited to “property damage”, “bodily injury”, settlements, judgments,
costs, charges, expenses, costs of investigations, or the fees of attomeys, experts, or consultants arising

out.of or related in any way, etther directly or indirectly, to:

1. asbestos, asbestos products, asbestos-containing materials or products, asbestos fibers or asbestos
dust, including, but not limited to, manufacture, mining, use, sale, installation, removal, or

distribution activities;

2. exposure to, testing for, monitoring of, cleaning up, removing, containing or treating of asbestos,

asbéstos products, asbestos-containing materials or products, asbestos fibers or asbestos dust; or

3. any obligation to investigate, settle or defend, or indemnify any person against any claim or “suit”
arising out of or related in any way, either directly or indirectly, to asbestos, asbestos products,

asbestos-containing materials or products, asbestos fibers or asbestos dust.

This endorsement does not change any other provision of the. policy.

Endurance Risk Solutions Assurance Co. Page 1 of 1 EXL 6001 0813

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;
NUCLEAR ENERGY LIABILITY EXCLUSION

THIS ENDORSEMENT CHANGES THE POLICY, PLEASE READ IT CAREFULLY.

This policy does not apply to:

A. Any liability, injury or damage:

L.

with respect to which any insured under the policy is also an insured under a nuclear energy
liability policy issued by Nuclear Energy Liability Insurance Association, Mutual Atomic Energy
Liability Underwriters, Nuclear Insurance Association of Canada or any of their successors, or
would be an insured under any such policy but for its termination upon exhaustion of its Limits of

Insurance; or

resulting from the “hazardous properties” of “nuclear material” and with respect to which (a) a
person or organization is required to maintain financial protection pursuant to the Atomic energy
Act of 1954, or any law amendatory thereof, or (b) any insured 1s, or had this policy not been
issued would be, entitled to indemnity from the United States of America, or any agency thereof, :
under any agreement entered into by the United States of America, or any agency thereof, with

any person or organization.

B. Any injury or “nuclear property damage” resulting from the “hazardous properties” of “nuclear

material”, if:

L.

the. “nuclear material” (a) is at any “nuclear facility” owned by, or operated by or on behalf of,
any insured or (b) has been discharged or dispersed therefrom;

the “nuclear material” is contained in “spent fuel” or “nuclear waste” at any time possessed,
handled, used, processed, stored, transported or disposed of by or on behalf of any insured; or

the injury or “nuclear property damage” arises out of the furnishing by any insured of services,
materials, parts of equipment in connection with the planning, construction, maintenance,
operation or use of any “nuclear facility”, but if such facility is located within the United States of
America, its territories or possessions or Canada, this Exclusion C.3. applies only to “nuclear
property damage” to such “nuclear facility” and any property therein.

C. As.used in this exclusion:

1.

“Hazardous properties” includes radioactive, toxic or explosive properties.

2. “Nuclear facility” means:
(a) any “nuclear reactor”;
Endurance Risk Solutions Assurance Co. Page L of 2 EXL 6066 0813

Case 5:20-cv-00672-BO Document 1-1 Filed 12/14/20 Page 910f111 .
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(b) any equipment or device designed or used for?

(1) separating the isotopes of uranium or plutonium;

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(2) processing or utilizing “spent fue
(3) handling processing or packaging “nuclear waste”;

(c) any equipment or device used for the processing, fabricating or alloying of “special nuclear
material” if at any time the total amount of such material in the custody of any insured at the
premises where such equipment or device is located consists of or contains more than 25
grams of plutonium or uranium 233 or any combination thereof, or more than 250 grams of
uranium 235; or

(d) any structure, basin, excavation, premises or place prepared or used for the storage or
disposal of, “nuclear waste”, and includes the site on which any of the foregoing is located,
al! operations considered on such site and all premises used for such operations.

|” a

3. “Nuclear material” means “source material”, “special nuclear material” or by-product material.

4. “Nuclear property damage” includes all forms of radioactive contamination of property.

5. “Nuclear reactor” means any apparatus designed or used to sustain nuclear fission in a self-
supporting chain reaction or to contain a critical mass of fissionable material.

6. “Nuclear waste” means any “nuclear waste” material (a) containing “by-product material” other
than the tailings of “nuclear waste” produced by the extraction or concentration of uranium or
thorium from any ore processed primarily for its “source material” content, and (b) resulting
from the operation by any person or organization of any “nuclear facility” included within the
definition of “nuclear facility” under Paragraph C.2.

7. “Source material”, “special nuclear material”, and “by-product material” have the meanings given
them in the Atomic Energy Act of 1954 or in any law amendatory thereof. °

8. “Spent fuel” means any fuel element or fuel component, solid or liquid, which has been used or
exposed to radiation in a “nuclear reactor.”

This endorsement does not change any other provision of the policy.

Endurance Risk Solutions Assurance Co. XL 6066 5 9813
Case 5:20-cv-00672-BO Document 1- i Big “12/14/20 Page 8 of 1
EXCLUSION-VIOLATION OF INFORMATION STATUTES

This endorsement changes the policy, please read it carefully.

This insurance does not apply to:
DISTRIBUTION OF MATERIAL IN VIOLATION OF STATUTES

"Bodily injury" or “property damage" or “personal and advertising injury" arising directly or

indirectly out of any act or omission that violates or is alleged to violate:

A. The Telephone Consumer Protection Act (TCPA), including any amendment. of or

addition to such law; or
' B. The CAN-SPAM Act of 2003, including any amendment of or addition to such law; or

C. The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law,
including the Fair and Accurate Credit Transaction Act (FACTA), or

D. Any statute, ordinance or regulation, other than the TCPA or CAN-SPAM Act of 2003,
that prohibits or limits the sending, transmitting, communicating or distribution of material or

information.

This endorsement does not change any other provision of the policy.

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Endurance Risk Solutions Assurance Co. Page | of | EXL 0516 0610

-Case 5:20-cv-00672-BO Document 1-1 Filed 12/14/20 Page 93 of 111
WAR LIABILITY EXCLUSION

This endorsement changes the policy, please read it carefully.

This insurance does not apply to any liability arising out of any war, invasion, acts of foreign or domestic
enemies, hostilities, (whether war be declared or not), civil war, rebellion, revolution, insurrection,
_ military or usurped power or confiscation or nationalization or requisition or destruction of or damage to
property including loss of access, by or under the order of any government, local authority or risks of

contraband, illegal transportation or trade.

This endorsement does not change any other provisions of the policy.

" Endurance Risk Solutions Assurance Co. , EXL 0562 0110

Case 5:20-cv-00672-BO Document1-1 Filed 12/14/20 Page 94 of 111
FOLLOWING FORM POLLUTION EXCLUSION

THIS ENDORSEMENT CHANGES THE POLICY, PLEASE READ IT CAREFULLY.

The following is added to the policy and supersedes anything to the contrary:

This policy does not apply to any liability, including, but not limited to “bodily injury”, “property
damage”, “loss” settlements, judgments, costs, charges, expenses, costs of investigations, or the fees of

attomeys, experts, or consultants arising out of or in any way related to:

A. The actual, alleged or threatened presence, discharge, dispersal, seepage, migration, release or

escape of “pollutants”, however caused.

B. Any request, demand, or order that any insured or others test for, monitor, clean-up, remove,
contain, treat, detoxify, neutralize or assess the effects of “pollutants”. This includes demands,
directives, complaints, suits, orders or requests brought by any governmental entity or by any.

person or group of persons.

C. Steps taken or amount incurred by a governmental unit or any other person or organization to test

for, monitor, clean-up, remove, contain, treat, detoxify or neutralize or assess the effects of

“pollutants”.

This exclusion will apply to any liability, costs, charges or expenses, or any judgments or settlements,
' arising directly or indirectly out of pollution whether or not the pollution was sudden, accidental, gradual,

intended, expected, unexpected, preventable or not preventable.

As used in this exclusion “pollutants” means any solid, liquid, gaseous or thermal irritant or contaminant,
including, but not limited to, smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste material.
Waste material includes materials which are intended to be or have been recycled, reconditioned or

reclaimed.

Endurance Risk Solutions Assurance Co. . " EXL 0538 0813
Page | of 2

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32 6e

However, if insurance for such “bodily injury” “property damage”, “loss” settlements; judgments, costs,
charges, expenses, costs of investigations, or the fees of attorneys, experts, or consultants is provided by

the “underlying insurance”:
A. This exclusion shall not apply; and

B. The insurance provided by our policy will not be broader than the insurance coverage provided by

the. “underlying insurance”.

This endorsement does not change any other provision of the policy.

Endurance Risk Solutions Assurance Co. . EXL 0538 0813
Page 2 of 2
Case 5:20-cv-00672-BO Document 1-1 Filed 12/14/20 Page 96 of 111
LEAD EXCLUSION

This endorsement changes the policy, please read it carefully.

This insurance does not apply to

A. “bodily injury”, “property damage”, “personal and advertising injury” arising out of the actual,
alleged or threatened;
1. absorption, ingestion or inhalation of lead in any form by any person; or

2. existence of lead in any form.

*

B. any “loss”, cost or expense arising out of any request, demand, order or statutory or regulatory
requirement
3. that any Insured or others;
a. _ test for, monitor, clean up, remove, contain, treat, detoxify or neutralize lead in any form;

b. respond to, or assess, in any way the effects of lead in any form.

+

Because lead, and any other such irritant or contaminant, are pollutants, this exclusion applies in addition

to any of the following exclusion that apply:

A. the pollution exclusion in this policy; or

B. any other pollution-related exclusion made part of this policy.

This endorsement does not change any other provision of the policy.

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Endurance Risk Solutions Assurance’Co. , . EXL 0513 OL10

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EXCLUSION FOR MOLD AND OTHER
NATURALLY-OCCURRING CONTAMINANTS

This endorsement changes the policy, please read it carefully.
It is agreed that the insurance afforded by this policy shall not apply to any demand, claim, “occurrence”,
“bodily injury”, “property damage”, “loss”, cost, "suit" or expense of any nature whatsoever, including
but not limited to any other claims, caused by, arising out of or relating in any way directly, indirectly, in
concurrence or in any sequence, with a cause for which coverage may be afforded under this coverage
part, based upon or arising out of mold, mildew, "fungi", spores, viruses, bacteria, or any of their
byproducts, or any other biological, etiological or other naturally occurring contaminant, or any of their

byproducts.
This exclusion excludes, by way of example and not limitation:

A. any duty to defend or other defense obligation associated with such mold, mildew, "fungi", spores,
viruses, bacteria, or any of their byproducts, or any other biological, etiological or other naturally

occurring contaminant, or any of their byproducts;

B. any damages, obligations, claim, injury or expense associated with a request, demand or order from
any body or individual, including but not limited to, any governmental body or actor, that any
insured or others test for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any
way respond to, or assess the effects of any mold, mildew, "fungi", spores, viruses, bacterial, or any
of their byproducts, or any other biological, etiological or other naturally occurring contaminant, or

any of their byproducts;

C. any damages, obligations, claim or injury associated with any material, products, building
component, building or structure that contain, harbors, nurtures or acts as a medium for any such
mold, mildew, "fungi", spores, viruses, bacteria, or any of their byproducts, or any other biological,
etiological or other naturally occurring contaminant, or any of their by products, regardless of any
other cause, event, material, product or building component that contributed directly, indirectly,

concurrently or in any, sequence to the damages obligations, claim, injury or expense. _

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"Fungi" means any type or form of fungus, including mold or mildew and any mycotoxins, spores, scents

or byproducts produced or released by "fungi".

This endorsement does not change any other provision of the policy.

Endurance Risk Solutions Assurance Co. ; EXL 0509 0110
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SILICA, SILICA-RELATED OR MIXED DUST EXCLUSION

THIS ENDORSEMENT CHANGES THE POLICY, PLEASE READ IT CAREFULLY.

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This insurance does not apply to any “loss”, liability, “bodily injury”, “property damage”, expense or
other form of damages and costs arising, in whole or in part, arising out of or involving “mixed dust”,

“silica”, “silica-related dust”, or any product containing “silica” or “silica-related dust”.

It is further agreed that this insurance does not apply to:

A. Any “loss”, cost or expense, arising in whole or in part, out of the abating, testing, monitoring,
remediating, neutralizing, removing or cleaning up of “mixed dust”, “silica”, “silica-related dust” or
products and materials containing “silica” or “silica-related dust” by any insured or by any other

person or entity;

B. The cost of such actions as may be necessary to monitor, assess and evaluate the release or threat of
“mixed dust”, “silica”, “silica-related dust” or products and materials containing “silica” or “silica-

related dust”;

C. The cost of disposal of “silica” substances or taking of such other action as may be necessary to
temporarily or permanently prevent, minimize, or mitigate damage to the public health or welfare or

to the environment, which may otherwise result by any insured or by any other person or entity; or

D. The cost of compliance with any law or regulation regarding “mixed dust”, “silica” or “silica-related
dust”.

"Silica" means silicon dioxide (occurring in crystalline, amorphous and impure forms), “silica” particles,

“silica-related dust” or silica compounds.

"Silica-related dust" means a mixture or combination of “silica” and other dust or particles.

“Mixed dust” means inorganic or organic dusts that have harmful effects on natural persons.

This endorsement does not change any other provision of the policy.

’ Endurance Risk Solutions Assurance Co. Page lofl EXL 6088 0813

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SUB-LIMITED COVERAGE EXCLUSION

This endorsement changes the policy, please read it carefully.

It is agreed that this insurance policy shall not apply in excess of any “sub-limited” coverage(s)
that are included within, or are a part of, any “underlying insurance” scheduled in this policy.
“Sub-limited” coverage(s) are defined as any coverage(s) having limits of insurance less than the

limit(s) of any “underlying insurance” included in the schedule of underlying policies.

This endorsement does not change any other provision of the policy.

Endurance Risk Solutions Assurance Co,’ ' EXL 1323 0610

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UNINSURED / UNDERINSURED MOTORIST EXCLUSION
THIS ENDORSEMENT CHANGES THE POLICY, PLEASE READ IT CAREFULLY.

This insurance does not apply to any obligation of the insured under a No Fault, Uninsured-Motorist or

Supplementary Uninsured/Underinsured Motorist Law, or under any similar law, regulation or ordinance.

This endorsement does not change any other provision of the policy.

Endurance Risk Solutions Assurance Co. ) EXL 0537 0110

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NORTH CAROLINA CHANGES

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
CAREFULLY.

Under SECTION VI. CONDITIONS, item Changes is deleted and replaced by the following:

Changes
This policy contains all the agreements between you and us concerning the
insurance afforded. The first Named Insured shown in the Declarations is authorized to
make changes in the terms of this policy with our consent. This policy's terms can be
amended or waived only by endorsement issued by us and made a part of this policy.

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This endorsement does not change any other provision of this policy.

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Endurance Risk Solutions Assurance Co. . EXL 1121 0710
Case_5:20-cv-00672-BO Document 1:1 Filed 12/14/20 Page 102 of 111,
.

NORTH CAROLINA CHANGES — CANCELLATION AND
NONRENEWAL

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

The following is added to the potlicy:

A. Cancellation

1. The first Named Insured shown in the Declarations may cancel this policy by mailing or
delivering to us advance written notice of cancellation.

2. Policies In Effect Less Than 60 Days

If this policy has been in effect for less than 60 days, we may cancel this policy by mailing or

a.
delivering to the first Named Insured written notice of cancellation at least:

(1) 15 days before the effective date of cancellation if we cancel for nonpayment of
premium; or .

(2) 30 days before the effective date of cancellation if we cancel for any other reason.

b. Policies in Effect More Than 60 Days

If this policy has been in effect for 60 days or more, or is a renewal of a policy we issued, we

may cancel this policy prior to the:

(1) Expiration of the policy term; or

(2) Anniversary date,

stated in the policy only for one or more of the following reasons:

(a) Nonpayment of premium;

(b) An act or omission by the insured or his or her representative that constitutes material
misrepresentation or nondisclosure of a material fact in obtaining this policy,
continuing this policy or presenting a claim under this policy;

(c) Increased hazard or material change in the risk assumed that could not have been
reasonably contemplated by the parties at the time of assumption of the risk;

(d) Substantial breach of contractual! duties, conditions or warranties that materially
affects the insurability of the risk;

(e) A fraudulent act against us by the insured or his or her representative that materially
affects the insurability of the risk;

(f) Willful failure by the insured or his or her representative to institute reasonable loss
control measures that materially affect the insurability of the risk after written notice
by us;

}) Loss of or substantial changes in applicable reinsurance as provided in G.S. 58- 41-30;

(h) Conviction of the insured of a crime arising out of acts that materially affect the
insurability of the risk; ;

(i), A.determination by the Commissioner of Insurance that the continuation of the policy

* would place us in violation of the laws of North Carolina; or

(j) You fail to meet the requirements contained in our corporate charter, articles of
incorporation or by-laws when we are a company organized for the sole purpose of
providing members of an organization with insurance coverage in North Carolina.

We will mail or deliver written notice of cancellation to the first Named Insured at least:
(i) 15 days before the effective date of cancellation if we cancel for nonpayment of
premium; or
(ii) 30 days before the effective date of cancellation if we cancel for any other reason.
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Endurance Risk Solutions Assurance Co. Page 1 of 2 - EXL 0910 0813

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c. Cancellation for nonpayment of premium will not become effective if you pay the premium
amount due before the effective date of cancellation.

d. We may also cancel this policy for any reason not stated above provided we obtain your prior
written consent.

3. We will mail or deliver our notice to the first Named Insured's last mailing address known to us.

4. Notice of cancellation will state the effective date of cancellation. The policy period will end on
- that date.

5. !f this policy is cancelled, we will send the first Named Insured any premium refund due. If we
cancel, the refund will be pro rata. If the first Named Insured cancels, the refund may be less
than pro rata. The cancellation will be effective even if we have not made or offered a refund.

6. If notice is mailed, proof of mailing will be sufficient proof of notice.
B. When The Insurer Does Not Renew

1. If we elect not to renew this policy, we will mail or deliver to the first Named Insured shown in
the Declarations written notice of nonrenewal at least 45 days prior to the:

a. Expiration of the policy if this policy has been written for one year or less; or

b. Anniversary date of the policy if this policy has been written for more than one year or for
an indefinite term.

We need not mail or deliver the notice of nonrenewal if you have:
(1) Insured property covered under this policy, under any other insurance policy;
(2) Accepted replacement coverage; or
(3) Requested or agreed to nonrenewal of this policy.
c. If notice is mailed, proof of mailing will be sufficient proof of notice.
2. The written notice of cancellation or nonrenewal will:

a. Be mailed or delivered to the first Named insured and any designated mortgagee or loss
payee at their addresses shown in the policy, or if not indicated in the policy, at their last
known addresses; and

b, State the reason or reasons for cancellation or nonrenewal

This endorsement does not change any other provision of the policy.
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GENERAL CHANGE ENDORSEMENT

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Named Insured: | University of Southern California Endorsement No.:

Policy No.: Duke University — 440 Effective Date of | 01/01/2015
Endorsement:

Issued By: Endurance Risk Solutions Assurance Co.

 

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This endorsement changes the policy, please read it carefully.

CLAIMS MADE COVERAGE ENDORSEMENT
(AS RESPECTS EDUCATORS LEGAL LIABILITY)

COVERAGE - CLAIMS MADE

It is agreed that the insurance afforded by this policy is subject to the same terms, conditions, definitions, exclusions and
watranties as contained in the claims made policy (ies) described in the Schedule of Underlying Insurance and/or Item IL below.

The foregoing shali not apply to:

1. The Retroactive Date of the underlying claims made policy(ies).

2. The Extended Reporting Period of the underlying claims made policy(ies).
RETROACTIVE DATE

The Retroactive Date for this Policy is January 01, 2015
(In the absence of an entry, the Retroactive Date will be the date this policy takes effect. )

This Insurance does not apply to any Loss resulting from a Wrongful Act which occurs before the Retroactive Date or after the
end of the policy period.

CLAIMS MADE CLAUSE

This policy shall apply to Claims first made against you and reported to us during the policy period for which coverage is
provided for in the following described underlying claims made policy(ies):

INSURANCE COMPANY POLICY NUMBER
Westchester Fire Insurance Company ~ Policy Number On File with
Company

All Claims for Damages resulting from a Wrongful Act which are alleged by the same person or organization, including Damages

. claimed by any person or organization for Loss resulting at any time from a Wrongful Act, will be deemed to have been made at

the time the first of those Claims is made against any insured.

IV. EXTENDED REPORTING PERIODS

1. We will provide one or more Extended Reporting Periods, as described below, if.

(a) this policy is cancelled or not renewed: or

EXL 1001 0606
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(b) we renew or replace this policy with insurance that;
(1) has a Retroactive Date later than the date stated above in this Endorsement; or
(2) does not apply to Damages resulting from a Wrongful Act on a claims made basis.

The quotation ofa different premium and/or Limit of insurance does not constitute a cancellation ¢ or refusal to renew for the
purpose of this provision.

2. Extended Reporting Periods do not extend the policy period, increase the Limits of Insurance or change the scope of
coverage provided. They apply only to Claims that arc made against you before the ond of the policy period but not before
the Retroactive date.

Once in effect, Extended Reporting Periods may not be cancelled
3. Sixty (60) Day Automatic Extended Reporting Period:

A Sixty (60) Day Extended Reporting Period is automatically provided without additional charge. This period starts with the
end of the policy period or the effective date of any cancellation and lasts for sixty (60) days.

This period does not apply to Claims that are covered under any subsequent insurance you purchase or that would be covered
but for the exhaustion of the amount of insurance applicable to such claims.

4. Optional Extended Reporting Period:

The above Sixty (60) Day Extended Reporting Period may be substituted by an Extended Reporting Period Endorsement for
a period of thirty-six (36) months froin the end of the policy period or the effective date of any cancellation, if you make a
written request for an Extended Reporting Period within sixty (60) days after the end of the policy period or the effective date
of any cancellation and pays the additional premium of TBD%of the one year premium hereunder within said sixty (60) days.
If such request and premium payment are not so given to us, you shall not at a later date be able to exercise such right.

The insurance provided by the Extended Reporting Period shall be excess over any other valid and collectible insurance
available to you whether primary, excess, contingent, or on any other basis, whose policy period begins or continues after the
Extended Reporting Period Coverage provided hereunder takes effect.

The premium for the Extended Reporting Period endorsement will be fully earned when the endorsement takes effect.

As a condition precedent to your right to purchase the Extended Reporting Period Coverage, the full policy premium
(including any additional premiums) of this policy must have been paid.

V. DUTIES IN THE EVENT OF OCCURRENCE, CLAIM OR SUIT

You shall give prompt written notice to us of any Wrongful Act which may result in a Claim under this policy.
Such notice shall contain the fullest information obtainable at the time.

Ifa Claim is made or suit is brought against any insured, you shall give prompt ¥ written notice of the Claim or suit and forward
every demand; notice, summons or other process received. : . Hee a -.

If during the Extended Reporting Period (if purchased by you in accordance with the terms of this Endorsement), you shall
become aware of any occurrence or offense caused by a Wrongful Act which might result in a Claim against you under this
policy, then you shall give prompt written notice to us, together with the fullest information obtainable.

Any Claim that subsequently may be made against you arising out of such occurrences or offenses, caused by a

Wrongful Act, shall, for the purposes of this insurance, be deemed to have been made on the last date of the policy period or date
of cancellation; provided that the Claim is for Damages caused by a Wrongful Act that occurred before the end of the policy
period or date of cancellation but not before the Retroactive Date.

EXL 1001 0606
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Notice of the foregoing shall be given by you or your authorized representatives, to us at our Home Office.

VL. DEFENSE EXPENSES

 

Notwithstanding anything contained in this policy to the contrary, and irrespective of the coverage afforded by the
policy (ies) of the primary and/or underlying insurers, it is agreed that all expenses we incur in the investigation,
settlement of any claim or defense of any suit are included within our Limits of Insurance.

VIL APPLICATION

By acceptance of this policy, you agree that the stafements in the application are your representations and that this policy
embodies all agreements existing between you and us relating to this insurance. :

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Authorized Representative

EXL 1001 0606

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EXCESS LIABILITY COVERAGE FOLLOW FORM
(SHORT FORM)

Read the entire policy carefully to determine rights, duties and what is and is not covered. Throughout
this policy the words “you” and “your” refer to the Named Insured. The words “we”, “us” and “our”
refer to the Company providing this insurance. The word “insured” means any person or organization
qualifying as such in the “first underlying insurance” which is the controlling policy listed in Item 5 of
the Declarations, unless designated otherwise in the Declarations. Other words and phrases that appear
in quotation marks have special meaning and can be found in the DEFINITIONS Section or the
specific policy provision where they appear.

In consideration of the payment of the premium and in reliance upon the statements in the Declarations,
we agree with you to provide coverage as follows:

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INSURING AGREEMENTS
COVERAGE

We will pay on behalf of the insured the amount of “loss” covered by this insurance in excess of
the “underlying limits of insurance” subject to the LIMITS OF INSURANCE Section. This
policy will follow form to the terms, conditions, definitions, and exclusions of the "first underlying
insurance" in effect the first day of the Policy Period, except to the extent that the terms,
conditions, definitions, and exclusions of this policy differ from the “first underlying insurance." In
no event shall this policy provide broader coverage than is’ provided by any policy in the
“underlying insurance” shown in Item 5. of the Declarations, except if specifically provided
otherwise by endorsement. 7

LIMITS OF INSURANCE

A. The Each Occurrence limit stated in Item 4. of the Declarations is the most we will pay for all
, “Joss” arising out of any one occurrence to which this policy applies.

B. The aggregate limit shown in Item 4. of the Declarations is the most we will pay for all “loss”
that is subject to an aggregate limit provided by the “first underlying insurance” and shall
apply in the same manner as the aggregate limits provided by the “first underlying insurance”.

C. This policy applies only in excess of the “underlying limits of insurance” and only after the
“underlying limits of insurance” have been exhausted.

DEFENSE

We will follow the Defense provisions of the “first underlying insurance”. In the event there are no
Defense provisions contained in the “first underlying insurance”, we will have the right, but not the
duty to be associated with you or your underlying insurer or both in the investigation of any claim
or defense of any suit which in our opinion may create liability to our policy for “loss.” If we
exercise such right, we will do so at our own expense, but we will have no such expense obligation
or liability once the Limits of Insurance are exhausted.

.PREMIUM . . -

If any additional premium charge is made to the “underlying insurance” during the Policy Period or
if there is an increase in the risk assumed by us, our premium may be adjusted.

DEFINITIONS
A. “Loss” means those sums actually paid in the settlement or satisfaction of a claim which you

are legally obligated to pay as damages, including but not limited to “bodily injury” and
“property damage”, after making proper deductions for all recoveries and salvage.

B. “Underlying limits of insurance” means the sum of the limits of all applicable “underlying
insurance” listed in Item 5. of the Declarations, including self-insured retentions (SIRs),

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deductibles or other forms of insurance or self-insurance applicable to a given claim or
occurrence.

VI. CONDITIONS

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G.

Changes

This policy can only be changed by a written endorsement signed by one of our authorized
representatives that becomes a part of this policy.

First Named Insured Duties

The person or organization first named in Item]. of the Declarations is responsible for the
payment of all premiums. The first Named Insured will act on behalf of all other Named
Insureds for the giving and receiving of notice of cancellation or the receipt of any return
premium that become payable.

Maintenance of “Underlying Insurance”

During the period of this policy, you agree to keep all “underlying insurance” in full force and
effect and that the “underlying limits of insurance” will be maintained, except to the extent
such limits may be reduced or exhausted by payment for “loss” covered by “underlying
insurance.” If+you fail to comply with these requirements, we will only be liable to the same
extent that we would have been had you fully complied with these requirements. ,

Notice of Occurrence

You must see to it that we are notified as soon as practicable of an occurrence which may
result in a claim or suit which may involve this policy. Ifa claim or suit against any insured is
reasonably likely to involve this policy you must notify us tn writing as soon as practicable.

If the “underlying limits of insurance” are exhausted solely by payment of “loss”, no insured
will, except at their own cost, voluntarily make a payment, assume any obligation, or incur
any expense, other than for first aid, without our written consent.

Other Insurance

If other insurance applies to a “loss” that is also covered by this policy, this policy will apply
excess of the other insurance. However, this provision will not apply if the other insurance is
specifically written to be excess of this policy. Other insurance includes any type of self-
insurance or other mechanism by which an insured arranges for funding of legal Itabilities.

Conformity to Statute

Any terms of this policy which are in conflict with the terms of any applicable law or
regulation governing this policy are hereby amended to conform to such laws and regulations.
When “Loss” is Payable ’

Coverage under this policy will not apply unless and until the insured or the insured’s
“underlying insurance” is obligated to pay the full amount of the “underlying limits of
insurance,” .
“When the amount of “loss” has finally been determined, we will promptly pay on behalf of the '
insured the amount of “loss” falling within the terms of this policy.
If the insured has rights to recover all or part of any payment we have made under this policy,
then those rights are transferred to us and the insured must do nothing to impair those rights.
At our request the insured will bring suit or transfer those rights to us to enforce them.

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Endurance Risk Solutions Assurance Co.

750 3° Avenue
New York, NY 10017

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IN WITNESS WHEREOF, the Insurer has caused this Policy to be signed by its President and
Senior Vice President and countersigned where required by law on the Declarations page by its duly
authorized representative.

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Senior Vice President President

Endurance Risk Solutions Assurance Co. IL 1007 0114

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U. S. TREASURY DEPARTMENT’S OFFICE OF FOREIGN
ASSETS CONTROL (“OFAC”)
NOTICE TO POLICYHOLDERS

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No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of
your policy. You should read your policy and review your Declarations page for complete information on
the coverages you are provided.

This Notice provides information concerning possible impact on your insurance coverage due to

directives issued by OFAC. Please read this Notice carefully. ‘

The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on
Presidential declarations of “national emergency". OFAC has identified and listed numerous:

Foreign agents;

« Front organizations;

e Terrorists;

e Terrorist organizations; and
e Narcotics traffickers;

as “Specially Designated Nationals and Blocked Persons”. This list can be located on the United States
Treasury's website — http/Avww.treas.gov/ofac.

In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or
entity claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated
National and Blocked Person, as identified by OFAC, this insurance will be considered a blocked or
frozen contract and all provisions of this insurance are immediately subject to OFAC. When an insurance
policy is considered to be such a blocked or frozen contract, no payments nor premium refunds may be
made without authorization from OFAC. Other limitations on the premiums and payments also apply.

Endurance Risk Solutions Assurance Co. PN-0001 0407

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